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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
-------------------------------------------------------------------- X

MAURICE SHNAIDER
247 Albany Avenue, Kingston, NY 12401;

HAL DAVID LUBIN, as personal representative of the
ESTATE OF ROSE IDA LUBIN,                                                Civ. No. 25-CV-538
5018 Wyntergate Drive Dunwoody, GA 30338;

ROBIN LYNN LUBIN, as personal representative of the
ESTATE OF ROSE IDA LUBIN, 5018 Wyntergate
Drive Dunwoody, GA 30338;

TALIA ZAHAVA FRIEDMAN, as personal
representative of the Estate of ZACHARY PHILIP
HABER,
9 Walter Aveles Street, Apt 52, Jerusalem;

AYELET NEHAMA NEWMAN-KELMANSON,
individually,
Mitspe Dvir St 104, Otniel, Israel;

DAVID BOLLAG, as the father and natural guardian of
S.B.,
Maccabi 42, Ra’anana, Israel;

DIKLA MIZRACHI, as personal representative of the
ESTATE OF BEN MENASHE MIZRACHI,
3970 Laurel Street V5Z3V6 Vancouver BC, Canada;

ORIT NAHAMIAS,
Netiv Ha’asara, Israel;

YINON SHARABI,
Hashomer 38, Sderot, Israel;

LIAT OREN WACHS, individually and as personal
representative of the ESTATE OF IGAL WACHS, and
as the mother and natural guardian of J.W., a minor,
5 Gould Rd. Lexington, MA 02420;


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NICHOLAS ALBERT MERKIN, as the father and
natural guardian of I.T.M., a minor,
Ahad Ha’am 42D, Ra’anana, Israel;

ALLEN SAMUEL KAMER, as the father and natural
guardian of N.E.K., minor,
Einstein 4, Ra’anana, Israel;

JOSHUA SETH HEXTER as personal representative of
the ESTATE OF YAKIR HEXTER,
Yishi Street 3, Jerusalem, Israel;

MEITAL GABRIELA GITLER, individually and as
personal representative of the ESTATE OF DAVID
SCHWARTZ,
Harei Gofna 212, El’azar, Israel;

HAIM BERNSTEIN, individually and as personal
representative of the ESTATE OF YEHONATAN
TZOR a/k/a Yehonatan Bernstein,
Kefar Maimom, Israel;

ETHAN KESSLER HALLEY a/k/a Eitan Kessler
Halley;
Hagefen 26, Karnei Shomron, Israel;

DVORA BATYA SAADON, as personal representative
of the ESTATE OF HALLEL SHMUEL SAADON,
Hamoria Street 135, Ma’ale Mihmas, Israel;

ISAAC MARGULIES,
2412 Wentworth Lane, Aurora, IL 60502;

LIMOR ROM, as personal representative of the
ESTATE OF JONATHAN ROM a/k/a Yonatan Rom,
Hashaked Street 20/1, Mivaseret Tzion, Israel;

TOMER ROM, as personal representative of the
ESTATE OF JONATHAN ROM a/k/a Yonatan Rom,
Nof Harim Street 171, Har Adar, Israel;


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 YONAH CHAVA LANDAU ZENILMAN, individually
 and as personal representative of the ESTATE OF ARI
 YEHIEL WEINSOFF ZENILMAN,
 25 Uruguay Street, Entrance 2, Apartment #8, Jerusalem,
 Israel;

 MARCY ANN TATELBAUM, as representative of the
 ESTATE OF YAKIR SHMUEL TATELBAUM,
 Mitzpeh Nevo 67/3, Maaleh Adumim, 9841052, Israel;

 and

 JULIANA FARRON a/k/a Juliana Bausi, as personal
 representative of the ESTATE OF ITAI YEHUDA
 BAUSI,
 Kvutsat Yavne D. N. Evtach, 7923300 Israel;
                          -against-

 AL JAZEERA MEDIA NETWORK, a foreign
 company,
 Qatar Television Building, Khalifa Street, Wadi al Sail,
 Doha, Qatar;

 and

 AL JAZEERA INTERNATIONAL (USA) LLC, a
 Delaware limited liability company,
 251 Little Falls Drive, Wilmington, Delaware 19808,

                                              Defendants.
 --------------------------------------------------------------------------- X


                                                    COMPLAINT

        Plaintiffs, by their undersigned counsel, complain of Al Jazeera Media Network and Al

Jazeera International USA LLC (collectively, “Al Jazeera” or “Defendants”), and allege for their

complaint upon information and belief as follows:


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                                           INTRODUCTION

       1.        This is an action for damages against Al Jazeera pursuant to the Anti-Terrorism Act

(ATA), 18 U.S.C. § 2333, as amended by the Justice Against Sponsors of Terrorism Act (JASTA),

Pub. L. No. 114-222 (2016), for aiding, abetting, and knowingly providing support and resources

to the Islamic Resistance Movement (“Hamas”) and the Palestine Islamic Jihad (the “PIJ”), both

of which are designated Foreign Terrorist Organizations (“FTOs”).1

       2.        This action is brought on behalf of American citizens who were killed, severely

injured, or suffered profound psychological and emotional trauma—or whose family members

were killed or gravely harmed—as a result of the October 7, 2023 terrorist attacks perpetrated by

Hamas and the PIJ (the “October 7 Terrorist Attacks”) and their aftermath, as well as other acts of

terrorism and violence perpetrated by these groups.

       3.        The ATA, as amended by JASTA, allows victims of terrorism to bring civil lawsuits

for an injury arising from an act of international terrorism committed by a Foreign Terrorist

Organization, and liability may be asserted as to any person who aids and abets, by knowingly

providing substantial assistance, or who conspires with the person who committed such an act of

international terrorism.” 18 U.S.C. § 2333(d)(2)

       4.        “Any national of the United States injured in his or her person, property, or business

by reason of an act of international terrorism, or his or her estate, survivors, or heirs, may sue

therefor in any appropriate district court of the United States and shall recover threefold the

damages he or she sustains and the cost of the suit, including attorney’s fees.” 18 U.S.C. § 2333(a)

       5.        Defendants’ actions—including employing and compensating journalists who are

Hamas and the PIJ operatives, compensating FTO leaders and operatives for interviews to incite


       1
           https://www.state.gov/foreign-terrorist-organizations/ (last visited on September 18, 2024)


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violence, as well as providing a platform for Hamas and the PIJ to organize their terrorist agenda,

communicate their terrorist plans, recruit terrorist members, and incite violence—facilitated the

planning and execution of the October 7 Terrorist Attacks and other acts of terrorism. These actions

directly harmed the Plaintiffs.

       6.      Defendants aided and abetted, by knowingly providing substantial assistance, and

conspired with Hamas and the PIJ—both designated Foreign Terrorist Organizations—to commit

international acts of terrorism, as defined by 18 U.S.C. § 2331, in violation of 18 U.S.C. §

2333(d)(2). Further, Defendants provided material support to Hamas and the PIJ in violation of 18

U.S.C. §§ 2339A and 2339B. As a result, Defendants are civilly liable under § 2333 of the ATA

to Plaintiffs, who have suffered injury to their person, property, and/or business by reason of

Hamas’s and the PIJ’s acts of international terrorism.

       7.      Plaintiffs seek damages under 18 U.S.C. § 2333 of the ATA for the Defendants’

roles in conspiring with, and aiding and abetting by providing material support to, Hamas and the

PIJ in their commission of acts of international terrorism as defined by 18 U.S.C. § 2331.


                                  JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1367, which provide for federal question jurisdiction and supplemental jurisdiction.

Jurisdiction is also proper under 18 U.S.C. §§ 2333 and 2334, which authorize civil actions brought

by U.S. citizens, their estates, survivors, or heirs who have been injured by acts of international

terrorism.

       9.      Personal jurisdiction over Defendants is proper under D.C. Code § 13-422.

Defendants have substantial contacts with the District of Columbia. Multiple Al Jazeera

subsidiaries are either headquartered or at home in Washington D.C., including Al Jazeera Plus


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(AJ+) which is a subsidiary of Al Jazeera Media Network. Defendant Al Jazeera International

(USA) LLC’s principal place of business is located in Washington, D.C.2

       10.     While headquartered in Doha, Qatar, and hosting 70 bureaus worldwide, Defendant

Al Jazeera Media Network lists four locations on its LinkedIn page, with Washington, D.C. being

the only U.S. location listed.3 The Washington, D.C. office serves as a primary hub for Al Jazeera’s

U.S. operations. Al Jazeera’s presence in Washington D.C. has included over 100 staff

credentialed for Congressional press galleries.4 In recent months, Al Jazeera Media Network has

solicited jobs based in the Washington, D.C. area on behalf of itself, Al Jazeera English, and their

shows. Defendants operate Al Jazeera English, which is a part of Al Jazeera Media Network,

distributing content to U.S. audiences, including via streaming platforms like Sling TV.

Additionally, Al Jazeera English produces and broadcasts UpFront, a program created, filmed,

and aired in Washington, D.C.5 and Fault Lines, a program based in Washington, D.C.6 Al Jazeera

explicitly targets American audiences and produces, films, and airs programming specifically in

Washington, D.C., engaging in continuous and systematic activities in the District of Columbia.

       11.     In the interests of justice, this case should be adjudicated in the U.S., and

specifically in this District where Defendants have substantial contacts. Hamas is not designated

as a terrorist organization in Qatar and instead receives support there. Forcing Plaintiffs, who are




       2
           https://www.nlrb.gov/case/05-RC-225958 (last visited on October 28, 2024)
       3
           https://www.linkedin.com/company/aljazeera/about/ (last visited on October 28, 2024)
         4
           Report Concerning Qatar’s Al Jazeera Media Network & the Foreign Agents Registration Act
(July 6, 2020); https://efile.fara.gov/docs/3492-Informational-Materials-20200708-59.pdf
         5
           “The Washington DC-based show features one-on-one interviews and arena discussions with
international politicians, newsmakers, academics and activists.” Marc Lamont Hill to Host UpFront on Al
Jazeera (January 27, 2021); https://network.aljazeera.net/en/pressroom/marc-lamont-hill-host-upfront-al-
jazeera
         6
           https://en.wikipedia.org/wiki/Fault_Lines_(TV_program) (last visited on November 3, 2024)


                                                  -6-
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U.S. citizens, to bring their ATA claims in Qatar would deprive them of a suitable forum to resolve

their claims.

       12.      Personal jurisdiction over Defendants is proper under D.C. Code § 13-423.

Defendants, through Al Jazeera English and Al Jazeera’s Arabic Channels (Al Jazeera Arabic and

Al Jazeera Mubasher), divisions and agents of Defendants, purposefully direct content toward U.S.

audiences, including substantial viewership in the District of Columbia, by distributing

programming on U.S.-based streaming platforms such as Sling TV. Additionally, Al Jazeera

English produces and broadcasts UpFront, a program created, filmed, and aired from Washington,

D.C.7 Defendant Al Jazeera Media Network actively manages social media pages for both Al

Jazeera English and UpFront,8 specifically targeting and engaging U.S. audiences, including those

in D.C. Defendants have purposefully availed itself of the privilege of doing business in D.C.

Furthermore, Defendants caused tortious injury within the District by broadcasting interviews with

designated terrorists on UpFront and airing terrorist-related content on Al Jazeera English and

other Al Jazeera Media Network channels, which was accessible within the District of Columbia

and incited further violence. Defendants also featured interviews with individuals affiliated with

terrorist organizations and showcased Al Jazeera employees who are Hamas operatives. These

actions further incited violence and impacted viewers nationwide, including in Washington, D.C.

This establishes a direct connection between Defendants’ conduct in Washington, D.C. and

Plaintiffs’ claims under the ATA, thereby satisfying the requirements for specific jurisdiction.

Furthermore, by interviewing designated terrorists on UpFront, a show produced in Washington,



       7
         Id.
       8
          https://www.facebook.com/aljazeera/about_profile_transparency (last visited on October 29,
2024); https://www.facebook.com/AJUpFront/about_profile_transparency (last visited on October 29,
2024)


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D.C., Defendants are compensating designated terrorists out of Washington, D.C. which

establishes a direct connection between Defendants’ conduct in Washington, D.C. and Plaintiffs’

claims under the ATA.

         13.   Alternatively, under Federal Rule of Civil Procedure 4(k)(2), this Court may

exercise personal jurisdiction for federal claims when Defendants are not subject to jurisdiction in

any state’s courts, and their contacts with the U.S. as a whole meet constitutional standards.

         14.   Venue is appropriate in this Court under 18 U.S.C. § 2334(a) as Defendant Al

Jazeera International (USA) LLC’s principal place of business is located in Washington, D.C.


                                         THE PARTIES

         15.   Plaintiff Maurice Shnaider, at all times relevant hereto, is an American citizen

domiciled in New York and the brother of Margit Silverman, deceased, brother-in-law of Yosi

Silverman, deceased, uncle of Shiri Bibas and Yarden Bibas, and great uncle of Kfir and Ariel

Bibas, who were kidnapped by Hamas on October 7, 2023 and remain in Gaza.

         16.   Plaintiff Hal David Lubin, at all times relevant hereto, is an American citizen

domiciled in Georgia and the personal representative of the estate of decedent Rose Ida Lubin, an

American citizen. Plaintiff Hal David Lubin brings this action on behalf of the estate of Rose Ida

Lubin.

         17.   Plaintiff Robin Lynn Lubin, at all times relevant hereto, is an American citizen

domiciled in Georgia and the personal representative of the estate of decedent Rose Ida Lubin, an

American citizen. Plaintiff Robin Lynn Lubin brings this action on behalf of the estate of Rose Ida

Lubin.

         18.   Plaintiff Talia Zahava Friedman, at all times relevant hereto, is an American citizen

domiciled in Israel and the personal representative of the estate of decedent Zachary Philip Haber.


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       19.     Plaintiff Ayelet Nehama Newman-Kelmanson, at all times relevant hereto, is an

American citizen domiciled in Israel and is the wife of Menachem Kelmanson, an Israeli citizen,

who was severely injured by terrorists on October 7, 2023 and the sister-in-law of Elchanan

Kelmanson, who was killed by terrorists on October 7, 2023.                 Ayelet Nehama Newman-

Kelmanson brings this action individually.

       20.     Plaintiff S.B., who was severely injured in a terrorist attack, at all times relevant

hereto, is an American citizen domiciled in Israel and son of plaintiff David.

       21.     Plaintiff David Bollag, at all times relevant hereto, is the father of Plaintiff S.B. and

brings this action as natural guardian of his minor child, Plaintiff S.B.

       22.     Plaintiff Dikla Mizrachi, at all times relevant hereto, is an American citizen

domiciled in Canada and the personal representative of the estate of decedent Ben Menashe

Mizrachi, an American citizen.

       23.     Plaintiff Orit Nahamias, at all times relevant hereto, is an American citizen

domiciled in Israel and the sister of decedent Chen Nahmias.

       24.     Plaintiff Yinon Sharabi, who was severely psychologically and emotionally injured

during a terrorist attack, at all times relevant hereto, is an American citizen domiciled in Israel.

       25.     Plaintiff Liat Oren Wachs, at all times relevant hereto, is an American citizen

domiciled in Massachusetts and the wife, heir, and personal representative of the estate of decedent

Igal Wachs, an American citizen. Plaintiff Liat Oren Wachs is the mother of Plaintiff J.W. Plaintiff

Liat Oren Wachs brings this action individually, on behalf of the estate of Igal Wachs, and as

natural guardian of her minor child, Plaintiff J.W.

       26.     Plaintiff I.T.M., who was severely injured in a terrorist attack, at all times relevant

hereto, is an American citizen domiciled in Israel. Plaintiff Nicholas Albert Merkin, at all times




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relevant hereto, is an American citizen domiciled in Israel and the father of Plaintiff I.T.M. Plaintiff

Nicholas Albert Merkin brings this suit as natural guardian of his minor child, Plaintiff I.T.M.

       27.      Plaintiff N.E.K., who was severely injured in a terrorist attack, at all times relevant

hereto, is an American citizen domiciled in Israel and son of Plaintiff Stacey Rubtchinsky Kamer.

       28.      Plaintiff Allen Samuel Kamer, at all times relevant hereto, is an American citizen

domiciled in Israel and the father of Plaintiff N.E.K. Plaintiff Allen Samuel Kamer brings this suit

as natural guardian of his minor child, Plaintiff N.E.K.

       29.      Plaintiff Joshua Seth Hexter, at all times relevant hereto, is an American citizen

domiciled in Israel and the personal representative of the estate of decedent Yakir Hexter, an

American citizen.

       30.      Plaintiff Meital Gabriela Gitler, at all times relevant hereto, is an American citizen

domiciled in Israel and the wife, heir, and personal representative of the estate of decedent David

Schwartz.

       31.      Plaintiff Haim Bernstein, at all times relevant hereto, is an American citizen

domiciled in Israel and the father of decedent Yehonatan Tzor. Plaintiff Haim Bernstein brings

this action individually and on behalf of the estate of Yehonatan Tzor.

       32.      Plaintiff Ethan Kessler Halley a/k/a Eitan Halley, who was severely injured in a

terrorist attack, at all times relevant hereto, is an American citizen domiciled in Israel.

       33.      Plaintiff Dvora Batya Saadon, at all times relevant hereto, is an American citizen

domiciled in Israel and the personal representative of the estate of decedent Hallel Shmuel Saadon,

an American citizen.

       34.      Plaintiff Isaac Margulies, who was severely wounded in a terrorist attack, at all

times relevant hereto, is an American citizen domiciled in Israel.




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       35.      Plaintiff Limor Rom, at all times relevant hereto, is the personal representative of

the estate of decedent Jonathan Rom a/k/a Yonatan Rom, an American citizen. Plaintiff Limor

Rom brings this action on behalf of the estate of Jonathan Rom.

       36.      Plaintiff Tomer Rom, at all times relevant hereto, is the personal representative of

the estate of decedent Jonathan Rom a/k/a Yonatan Rom, an American citizen. Plaintiff Tomer

Rom brings this action on behalf of the estate of Jonathan Rom.

       37.      Plaintiff Yonah Chava Landau Zenilman, at all times relevant hereto, is an

American citizen domiciled in Israel and the wife, heir, and personal representative of the estate

of decedent Ari Yehiel Weinsoff Zenilman, an American citizen. Plaintiff Yonah Chava Landau

Zenilman brings this action individually, on behalf of the estate of Ari Yehiel Weinsoff Zenilman.

       38.      Plaintiff Marcy Ann Tatelbaum, at all times relevant hereto, is an American citizen

domiciled in Israel and the mother of decedent Yakir Shmuel Tatelbaum, an American citizen.

       39.      Plaintiff Juliana Farron Bausi, at all times relevant hereto, is an American citizen

domiciled in Israel and the personal representative of the estate of decedent Itai Yehuda Bausi, an

American citizen. Plaintiff Juliana Farron Bausi brings this action on behalf of the estate of Itai

Yehuda Bausi.

       40.      Defendant Al Jazeera Media Network is a global media conglomerate

headquartered in Doha, Qatar. Established in 1996, the network operates multiple channels,

including Al Jazeera Arabic and Al Jazeera English, distributing content worldwide via television,

online platforms, and social media.

       41.      Defendant Al Jazeera International (USA) LLC is a Delaware limited liability

company and a subsidiary of Al Jazeera Media Network. Its main office is located at 1200 New

Hampshire Avenue NW, Washington, D.C., which serves as a primary hub for the network’s U.S.




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activities, including Al Jazeera English. The network’s content is distributed to U.S. viewers

through platforms like Sling TV, YouTube, and streaming services such as Roku, Amazon Fire

TV, and Apple TV.


                                        UNDERLYING FACTS

Hamas Terrorist Organization
         42.     The Islamic Resistance Movement (Harakat Al-Muqawama Al-Islamia), known by

its Arabic acronym “Hamas,” is a radical terrorist organization established by Islamic militants in

1987 as the Palestinian branch of the extremist Muslim Brotherhood.

         43.     The United States has designated Hamas as a Foreign Terrorist Organization since

1997.9

         44.     Hamas’s charter, first published in 1988, states that “Israel will exist and will

continue to exist until Islam will obliterate it” and that “there is no solution to the Palestinian

question except through Jihad.”10 Hamas’s goal is the destruction of the State of Israel and the

establishment of an Islamic state in Israel, the West Bank, and the Gaza Strip. Hamas openly

declares its use of terrorism as a legitimate means to achieve these objectives.11

         45.     Hamas has carried out thousands of terrorist attacks, including suicide bombings,

kidnappings, and rocket launches targeting Israeli civilians and military personnel. These attacks




         9
          https://www.state.gov/foreign-terrorist-organizations/ (last visited on September 18, 2024)
         10
           Hamas Covenant 1988, https://avalon.law.yale.edu/20th_century/hamas.asp
        11
           Ibid. “It is the duty of the followers of other religions to stop disputing the sovereignty of Islam
in this region, because the day these followers should take over there will be nothing but carnage,
displacement and terror.”


                                                     -12-
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have resulted in the deaths and severe injury of many Israeli and U.S. citizens. Hamas’s policy of

violence and terrorism is widely recognized.12

       46.     Since taking control of the Gaza Strip in 2007, Hamas has fired thousands of rockets

and mortar shells into Israel, terrorizing civilian populations.13 Hamas frequently attempts cross-

border infiltrations to carry out attacks and kidnappings.14

       47.     Hamas’s policy and practice of carrying out terrorist attacks has been notorious and

well known to the public, including the Defendants. These terrorist attacks have been routinely

reported on and publicized worldwide by the Defendants through its global media network.


The PIJ Terrorist Organization
       48.     The Palestinian Islamic Jihad (PIJ), another radical terrorist organization, shares

Hamas’s goal of destroying Israel and establishing an Islamic state through terrorism.15 The PIJ

has been involved in numerous terrorist attacks targeting U.S. civilians and Israeli civilians and

soldiers, using violence to coerce and intimidate the Israeli government.




       12
            Justice Department Announces Terrorism Charges Against Senior Leaders of Hamas (September
3, 2024), https://www.justice.gov/opa/pr/justice-department-announces-terrorism-charges-against-senior-
leaders-hamas (“‘For decades, Hamas and its leadership have dedicated themselves to the eradication of
the State of Israel, and to murdering, maiming, and brutalizing anyone — including dozens of Americans
— who stood in their way,’ said U.S. Attorney Damian Williams for the Southern District of New York.
‘The October 7 Hamas Massacres – in which over 40 American citizens were murdered – is only the latest
act of savagery carried out by Hamas.’”)
         13
               Rocket & Mortar Attacks Against Israel by Date (2001 - Present),
https://www.jewishvirtuallibrary.org/palestinian-rocket-and-mortar-attacks-against-israel
         14
             Palestinian Tunnel Warfare in the Gaza Strip, https://en.wikipedia.org/wiki/Palestinian
_tunnel_warfare_in_the_Gaza_Strip (last visited on September 23, 2024)
         15
              PALESTINE ISLAMIC JIHAD (PIJ) (as of February 2023) https://www.dni.gov/
nctc/ftos/pij_fto.html#:~:text=The%20Palestine%20Islamic%20Jihad%20(PIJ,to%20the%20destruction%
20of%20Israel (last visited on September 18, 2024)


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       49.     Since 1997, the United States has designated the PIJ as a Foreign Terrorist

Organization.16

       50.     The PIJ’s activities—including bombings, shootings, and rocket attacks—are

widely known and publicized. These terrorist attacks have been routinely reported on and

publicized worldwide by the Defendants through its global media network.


Al Jazeera
       51.     Established in Qatar in 1996, Al Jazeera is a media news network that describes

itself as “one of the largest and most influential international news networks in the world.”17 Al

Jazeera Mubasher (Live) was launched in 2005 for continuous live coverage of news events. In

2006, Al Jazeera launched an English-language channel, Al Jazeera English, aimed at reaching a

global audience. Al Jazeera Plus was launched in 2013 as part of Al Jazeera’s initiative to expand

its digital content offerings to reach a younger audience, and in 2017, it was rebranded as AJ+,

which continued to emphasize digital-first content and expanded its presence across various social

media platforms. Al Jazeera has extensive reach across the globe and is distributed in over 150

countries and territories in more than 430 million homes.18

       52.     Since its establishment in 1996, Al Jazeera has aligned itself with terrorist

organizations by working with such organizations to further their terrorist agenda, paying terrorist

leaders for interviews, and providing a platform to assist these terrorist groups to organize,

communicate their terrorist agenda, recruit new members, and incite violence.

       53.     This alignment has continued to the present. “Since Hamas’ October 7, 2023 attack

in southern Israel, in which some 1,200 Israelis were murdered and about 240 were kidnapped,


       16
          https://www.state.gov/foreign-terrorist-organizations/ (last visited on September 18, 2024)
       17
          https://network.aljazeera.net/en/about-us#page-20 (last visited on August 28, 2024)
       18
          Ibid.


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Qatar’s Al-Jazeera channel has been serving as a major mouthpiece for Hamas and the Iran-backed

terror militias.”19


                                    FACTUAL ALLEGATIONS

Al Jazeera Journalists Tied to Hamas and the PIJ: Correspondents are Operatives
        54.     Al Jazeera has consistently referred to Hamas and PIJ operatives—who have

publicly identified themselves as such—as its journalists and reporters. Al Jazeera knowingly paid

these Hamas and PIJ operatives to act as journalists and reporters. Even after their terrorist

activities and affiliations were exposed, Al Jazeera has continued to employ and compensate these

terrorists.


A.      Ismail Abu Omar: Al Jazeera Employee—Hamas Terrorist
        55.     Al Jazeera refers to Ismail Abu Omar as an Al Jazeera journalist.20

        56.     Omar is also a Hamas terror operative and actively participated in the October 7

Terrorist Attacks.21 Videos published by him show him entering Israel on October 7 and riding

towards Kibbutz Nir Oz with multiple armed Hamas men.22

        57.     Following the October 7 Terrorist Attacks, Israel publicly identified Omar as a

Hamas terror operative who served as a training company commander in the East Khan Younis


        19
             Arab Journalists: Al-Jazeera Is A Mouthpiece Of The Terrorist Organizations (November 22,
2023), https://www.memri.org/reports/arab-journalists-al-jazeera-mouthpiece-terrorist-organizations
         20
            https://www.aljazeera.com/news/2024/2/13/journalists-including-al-jazeera-reporter-injured-in-
israel-gaza-strike (Ismail Abu Omar referred to as “Al Jazeera Arabic correspondent.”)
         21
            https://t.me/asmailpress/76726?fbclid=IwZXh0bgNhZW0CMTAAAR2xBHTv7nxSPsD0w2Ln
zH69OumCxuj2Lu59LWJOs2BMAfn7ni93Zt7Chc_aem_AQDVvy2xTCToVNHY73TSZGuRutxQk6yl1
dOhmSO7_OTAhpQtj3lL5sPfgIPi9Su4T111uF0_oTfKSaueMJSJNcAB (last visited on August 26, 2024)
         22
            https://t.me/asmailpress/76729?fbclid=IwZXh0bgNhZW0CMTAAAR16aGVe6BsL8CkAUGki
R6DbAG_IXiEToRPec4xl7MEhQ1sAkPsiDftMdvY_aem_AQAoHlurDTMAQ8GGwE8c-
63kWF90z3liFxD52vvmChqePWikU9tkGnzbv_aKdAGZL-HFr_d8pe62Mu4bUTMh42dM (last visited
on August 26, 2024); https://t.me/asmailpress/76735


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Battalion.23 According to a spokesman for the Israel Defense Forces (“IDF”), Omar, on the

morning of the October 7 Terrorist Attacks, filmed himself from inside Kibbutz Nir Oz during

Hamas’s massacre, and, in addition to working for Al Jazeera, served as a “deputy company

commander in Hamas’s East Khan Younis Battalion.”24




                                                                          25



        58.     Al Jazeera kept Omar as their paid employee and described him as an “Al Jazeera

journalist” even after he was publicly identified as a Hamas commander.26

        59.     In March 2024, the chairman of Al Jazeera’s board of directors visited Omar in the

hospital after he was injured in an Israeli airstrike.27




        23
           IDF Claims Uncovered Documents Prove 6 Al Jazeera Journalists are Hamas, PIJ Operatives
(October 23, 2024); https://www.timesofisrael.com/liveblog_entry/idf-claims-uncovered-documents-
prove-6-al-jazeera-journalists-are-hamas-pij-operatives/
        24
            IDF Says Al Jazeera Reporter Wounded In Gaza Is Also A Hamas Deputy Commander, The
Times of Israel (Feb 15, 2024), https://www.timesofisrael.com/idf-says-al-jazeera-reporter-wounded-in-
gaza-is-also-a-hamas-deputy-commander/ (last visited on August 21, 2024)
        25
            https://x.com/giladerdan1/status/1757886064620921140 (last visited on August 26, 2024)
        26
            https://www.youtube.com/watch?v=B3uj9cCQiT0 (last visited on August 21, 2024)
        27
            https://x.com/AbuAliEnglishB1/status/1764670872210600043 (last visited on August 21, 2024)


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          60.   As of the date of this filing, Omar remains employed by Al Jazeera, which

continues to refer to him as one of its Gaza correspondents.28


B.        Muhammad Washah: Al Jazeera Employee—Hamas Terrorist
          61.   Muhammad Washah refers to himself as a correspondent for Al Jazeera Mubasher

(Al Jazeera Live).29

          62.   Al Jazeera has identified Washah as an Al Jazeera correspondent, including as

recently as January 2024.30

          63.   In December 2015, Washah posted a photo of himself on Instagram, showing him

receiving a book from Hamas’s Dr. Mohammed Zaha.31

          64.   In January 2017, while already employed as an Al Jazeera reporter,32 Washah

posted a photo on Instagram of himself with Hamas leader Ismail Haniyeh.33 In his role at Al

Jazeera, Washah has interacted with al-Qassam Brigade terrorists (Hamas’s military wing) on live

television34 and has sat along-side Saraya Al Quds members (the armed wing of the PIJ) at their

base.35




          28
            https://www.facebook.com/watch/?v=802644452073532; IDF Names 6 Al Jazeera Journalists
As Members Of Hamas, Islamic Jihad After Uncovering Documents (October 23, 2024);
https://nypost.com/2024/10/23/world-news/idf-names-6-al-jazeera-journalists-as-members-of-hamas-
islamic-jihad-after-uncovering-documents/
         29
            https://www.instagram.com/mohammed_s.m.wishah/?hl=en (last visited on August 21, 2024)
         30
             https://www.aljazeeramubasher.net/palestine/2024/1/15/‫هكذا‬-‫مباشر‬-‫الجزيرة‬-‫مراسل‬-‫د ّمر‬-‫( منزلي‬last
visited on August 21, 2024)
         31
            https://www.instagram.com/p/BNttkw9DEUx/ (last visited on August 26, 2024)
         32
            https://www.instagram.com/p/BI0nmMQj7lv/ (last visited on September 24, 2024)
         33
            https://www.instagram.com/p/BP0AQ9MDf1X/ (last visited on August 26, 2024)
         34
            https://www.instagram.com/p/BOMvtUujFQC/ (last visited on August 26, 2024)
         35
            https://www.instagram.com/p/BLQ760LDCpY/ (last visited on August 26, 2024)


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       65.     In February 2024, photos on Facebook show Washah training Hamas members on

how to use Rocket-Propelled Grenades (“RPGs”), as well as preparing RPGs, other weapons, and

drones.36

       66.     In February 2024, the IDF recovered a laptop belonging to Washah in the northern

Gaza Strip. Photos found on the laptop establish that Washah was a “prominent commander” in

Hamas’s anti-tank missile unit and, as of late 2022, began working in research and development

for Hamas’s air unit.37


C.     Hamza Al-Dahdouh and Mustafa Thuria: Al Jazeera Employees—Hamas and PIJ
       Terrorists
       67.     Hamza al-Dahdouh identified himself on Instagram as an Al Jazeera journalist and

listed October 7 as his birthday, even though his birthday is actually on April 30.38

       68.     In January 2024, an IDF aircraft targeted and assassinated the operators of a drone

posing a threat to the IDF. The operators were later identified as al-Dahdouh and Mustafa Thuria.

After their assassination for terrorist activity, al-Dahdouh and Thuria were referred to by Al

Jazeera as “Al Jazeera Crew” who were assassinated while on duty.39

       69.     Al-Dahdouh and Thuria were identified by the IDF as members of Gaza-based

terrorist organizations. Documents found by the IDF in Gaza revealed Thuria’s role as Squad




       36
             https://www.facebook.com/photo/?fbid=954613112696963&set=pcb.954613169363624 (last
visited on August 26, 2024)
         37
            IDF Says Al Jazeera Reporter Wounded In Gaza Is Also A Hamas Deputy Commander, The
Times of Israel (Feb 15, 2024), https://www.timesofisrael.com/idf-says-al-jazeera-reporter-wounded-in-
gaza-is-also-a-hamas-deputy-commander/ (last visited on August 21, 2024)
         38
            https://www.instagram.com/hamza_w_dahdooh/?hl=en (last visited on August 21, 2024)
         39
                Al     Jazeera    Condemns        The      Assassination    Of     Hamza     Aldahdooh,
https://network.aljazeera.net/en/press-releases/al-jazeera-condemns-assassination-hamza-aldahdooh (Jan
7, 2024)


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Deputy Commander in Hamas’s Gaza City Brigade, as well as Al-Dahdouh’s roles in the PIJ’s

electronic engineering unit and previously as a deputy commander in the PIJ’s Zeitun Battalion.40


D.     Ismail Al-Ghoul: Al Jazeera Employee—Hamas Terrorist
       70.     Ismail al-Ghoul was hired by Al Jazeera as an Arabic correspondent in Gaza in

November 2023.

       71.     At the time Al Jazeera hired him, al-Ghoul had publicly stated his commitment to

Hamas.41

       72.     Before becoming an Al Jazeera reporter, al-Ghoul attended a pro-Hamas/PIJ

gathering on May 21, 2021, praising Hamas’s resistance, with a post on his Instagram Account:

       How great Gaza is . . . [I]t sends a message to the resistance that we are on your
       path, ready to offer everything we have for you. It sends a message to the leader of
       the resistance, Mohamed Deif [senior Hamas leader], that we are rising up for this
       resistance and are ready to preserve it with all our blood. Let’s see the scenes from
       the uprising in Gaza celebrating the resistance’s victory.42

       73.     The IDF seized a file in Gaza containing a 2021 Hamas document that revealed al-

Ghoul was a member of the Hamas Nukhba terror unit involved in the October 7 Terrorist Attacks

and that he instructed Hamas operatives on how to record the October 7 Terrorist Attacks.43



       40
          https://x.com/IDF/status/1745177413565223266?lang=en (last visited on August 26, 2024)
       41
          “Al Jazeera refutes ‘baseless’ Israeli allegations against Ismail al-Ghoul.” Al Jazeera, 01 Aug.
2024,    https://www.aljazeera.com/news/2024/8/1/al-jazeera-refutes-baseless-israeli-allegations-against-
ismail-al-
ghoul#:~:text=%E2%80%9CIsmail%20joined%20Al%20Jazeera%20in,Media%20Network%20said%20
on%20Thursday..
        42
           https://www.instagram.com/p/C-Gn4WWSMZ2/ (last visited on September 12, 2024) (video has
since been scrubbed from Al Ghoul’s Instagram account)
        43
           IDF Releases File Seized in Gaza to Show Al Jazeera Reporter Was Hamas Member (August 3,
2024),
        https://www.timesofisrael.com/idf-releases-file-seized-in-gaza-to-show-al-jazeera-reporter-was-
hamas-member/


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                                                                                 44


        74.     Al-Ghoul was involved in recording and publicizing the attacks on Israeli troops

and his activities were a “vital part” of Hamas’s military activity.45

        75.     The IDF arrested al-Ghoul in March 202446 during its anti-terrorism raid of the

Shifa Hospital in Gaza, when the IDF captured some 900 suspects (of whom more than 500 were

confirmed to be terror operatives) and killed more than 200 gunmen.47

        76.     In a post on X, al-Ghoul shared a poem and a photograph inciting terror.48

        77.     Al-Ghoul was subsequently released but was assassinated on July 31, 2024 by an

IDF airstrike while on an assignment to film near the house of Ismail Haniyeh, the Hamas chief

killed in Iran earlier on the same day.


        44
            Id.
        45
            Israel Kills An Al Jazeera Journalist And Says, Without Evidence, He Was A Hamas Operative
(August 2, 2024), https://www.reuters.com/world/middle-east/idf-confirms-killing-al-jazeera-journalist-
says-he-was-hamas-operative-2024-08-01/
         46
            Al Jazeera Demands Israeli Occupation Forces Immediately Release Its Correspondent Ismail
Alghoul (March 18, 2024), https://network.aljazeera.net/en/press-releases/al-jazeera-demands-israeli-
occupation-forces-immediately-release-its-correspondent
         47
            IDF Ends Shifa Hospital Raid, Says It Killed 200 Terror Operatives, Arrested 500 More (April
1, 2024), https://www.timesofisrael.com/idf-ends-shifa-hospital-raid-after-arresting-or-killing-hundreds-
of-terror-operatives/
         48
            https://x.com/ismail_gh2/status/1779247490241270058 (last visited on August 27, 2024)


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        78.     Instead of correcting the record and distancing itself from al-Ghoul, Al Jazeera has,

against all evidence to the contrary, defended al-Ghoul’s reputation and denied his role in Hamas.49


E.      Other Al Jazeera Employees—Hamas and PIJ Terrorists
        79.     In October 2024, the IDF uncovered documents50 in the Gaza Strip that revealed

six Al Jazeera journalists acting as operatives for Hamas and the PIJ. The journalists named by the

IDF include Anas al-Sharif, Alaa Salameh, Hossam Shabat, Ashraf al-Sarraj, Ismail Abu Omar,

and Talal al-Arrouqi.51 The documents show personnel spreadsheets, lists of training courses,

telephone books, and salary documents. They further reveal that Sharif was the head of a rocket

launching squad and a member of a Nukhba Force company in Hamas’s Nuseirat Battalion;

Salameh was the deputy head of the Shaboura Battalion’s propaganda unit in the PIJ; Shabat was

a sniper in Hamas’s Beit Hanoun Battalion; Sarraj was a member of the PIJ’s Bureij Battalion;

Omar served as a training company commander in the East Khan Younis Battalion; and Arrouqi

was a team commander in Hamas’s Nuseirat Battalion.52 According to the IDF, the documents

“unequivocally prove” that the journalists functioned as operatives of Hamas and the PIJ. “These

documents are proof of the involvement of Hamas terrorists in the Qatari media network, Al-

Jazeera,” the IDF said in a statement. 53




        49
                   https://www.aljazeera.com/news/2024/8/1/al-jazeera-refutes-baseless-israeli-allegations-
against-ismail-al-ghoul
        50
             https://videoidf.azureedge.net/e8e85dc1-518d-4e08-b8a5-77576b4dea42 (last visited on
October 28, 2024)
        51
           IDF Claims Uncovered Documents Prove 6 Al Jazeera Journalists are Hamas, PIJ Operatives
(October 23, 2024); https://www.timesofisrael.com/liveblog_entry/idf-claims-uncovered-documents-
prove-6-al-jazeera-journalists-are-hamas-pij-operatives/
        52
           Id.
        53
           Id.


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       80.     Despite the documents uncovered by the IDF revealing that the named Al Jazeera

journalists are operatives for Hamas and the PIJ, Al Jazeera has rejected this evidence and

continues to employ these terrorist operatives.54


F.     History of Terrorists Employed by Defendants
       81.     Al Jazeera’s employment of Hamas operatives dates back several years. Between

2006 and 2011, Wadah Khanfar served as Al Jazeera’s Director General.55 In 2011, Palestinian

media described Khanfar as “one of the senior political leaders of the Islamic Resistance

Movement (Hamas),” claiming he headed “Hamas’s political bureau in (South and North

Africa).”56 Khanfar was also described by Palestinian media in 2012 as having been “active in the

Hamas movement” and “one of its most prominent leaders” in Hamas’s Sudan office.57 According

to Al Jazeera’s former English Egypt Bureau Chief, Mohamed Fahmy, Khanfar also was described

by the Muslim Brotherhood’s website as “one of the most prominent leaders in the Hamas Office

in Sudan.”58

       82.     In 2011, Samer Allawi, Al Jazeera’s bureau chief in Afghanistan, admitted to

working as a Hamas operative from 1993 to 2004. He stated he was prepared to participate in




       54
            Al Jazeera Decries ‘Unfounded’ Israeli Claims About its Gaza Journalists (October 23, 2024);
https://www.aljazeera.com/news/2024/10/23/al-jazeera-decries-unfounded-israeli-claims-about-its-gaza-
journalists
         55
            Zuckerman, Ethan. “Wadah Khanfar: One Year After Mubarak: The Past & Future of the Arab
Spring.” MIT Media Lab Events, 24 Feb 2012, https://www.media.mit.edu/events/wadah-khanfar-one-year-
after-mubarak-past-and-future-arab-spring/
         56
            https://www.raya.ps/news/511931.html
         57
            https://www.raya.ps/news/552905.html
         58
            Fahmy, Mohamed. “The Price of Aljazeera’s Politics.” Washington Institute, 26 Jun. 2015,
https://www.washingtoninstitute.org/policy-analysis/price-aljazeeras-politics.


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military operations if requested by Hamas and offered to leverage his position as a reporter for Al

Jazeera to advance Hamas’s interests.59

       83.     Hisham Zaqout is an Al Jazeera correspondent with ties to terrorism. In a July 2017

post on his X account, there is a picture of Zaqout wearing an IDF uniform and holding an illegally

obtained gun during a training activity in Gaza with the following post: “O educated people, O

school students this photo is in Gaza during a creative activity against normalization.”60 At the

time of the post, Zaqout had already begun his role as a correspondent for Al Jazeera, which

continues to employ him.61


G.     Al Jazeera’s Hiring Process
       84.     The “Careers” page of the Al Jazeera Media Network website provides “FAQs” for

applicants regarding Al Jazeera’s hiring policies and practices.62

       85.     Defendant, Al Jazeera Media Network, uses a variety of selection tools as part of

the pre-employment interview process, including as follows:

       The interview process is one of our best opportunities to get to know the potential
       of a candidate, and for the candidate to get to know our people and our businesses.
       We use competency based [sic] interview, psychometric testing and assessment
       centres [sic] but there are a variety of other selection tools we use where necessary.
       You will be given details of any assessment when you are invited to interview.
       You’ll be asked questions about your academic and work experiences, and you’ll
       have a chance to ask some questions to us. It will be most helpful for you to know
       about our Network, in particular the specific position of interest. You should also
       have a good sense of what value you think you may bring to our business and be




       59
             Al Jazeera Journalist Admits to Being Hamas Operative (September 27, 2011),
https://www.jpost.com/Middle-East/Al-Jazeera-journalist-admits-to-being-Hamas-operative
         60
            https://x.com/hishamzaqout/status/890933087558918144 (last visited on August 27, 2024)
         61
            https://ps.linkedin.com/in/hisham-zaqout-60959467.
         62
            https://careers.aljazeera.net/faqs/


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        prepared to offer examples of your past achievements or successes.63 (emphasis
        added)

        86.     Al Jazeera also conducts “background checks of applicants who have accepted

employment offers,” as follows:

        Yes, Al Jazeera Media Network thorough [sic] background checks of applicants
        who’ve accepted employment offers. During the background screening process we
        will cover all or some of the following checks: – Criminal record checks –
        Employment verifications – Education and credential verifications – Reference
        verifications – Local-language media/public domain searches and integrity
        checking – Credit reporting and financial histories – Due diligence checking –
        Compliance and risk database checks – Identity documentation/passport checks If
        you have specific concerns regarding your background and would like further
        information please inform your point of contact from our recruitment team.64
        (emphasis added)

        87.     Based on its extensive pre-employment interview and screening process and

background checks of applicants who have accepted offers, Al Jazeera knew or should have known

that it featured openly and publicly identified terrorists among its ranks and that it was

compensating these individuals.

        88.     Furthermore, even after Israel publicly released evidence that Al Jazeera knowingly

employed and compensated terrorists, Al Jazeera failed to terminate their employment and

continued to compensate known terrorists.


Al Jazeera’s Coordination with Hamas and the PIJ in the October 7 Terrorist Attacks
        89.     Representative James Comer, Chairman of the House Committee on Oversight and

Accountability, sent a letter dated April 8, 2024, to Attorney General Merrick Garland urging him




        63
          Unlock Your Potential at Al Jazeera Media Network, Join our network and discover endless
opportunities [sic] in the media industry, https://careers.aljazeera.net (last visited on September 23, 2024)
       64
          Id.


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to bring action against Al Jazeera under the Foreign Agents Registration Act (“FARA”), citing

concerns that the network has been “increasingly . . . linked to Hamas-backed attacks.”65

       90.     Prior to October 7, 2023, Hamas kept the details of the October 7 Terrorist Attacks

highly secretive, with only five leaders fully aware of the plan and the final decision to proceed

made only the day before.66 During the early hours of the October 7 Terrorist Attacks, Al Jazeera

reporter Ismail Abu Omar (already described previously in this complaint) provided live updates

of the terrorist attack on his Telegram channel. 67 Given the covert nature and last-minute execution

of the attack, Omar’s real-time reporting shows close coordination with and intelligence from

Hamas.

       91.     Early in the morning of October 7, 2023, Omar was actively posting on Telegram

at 5:58 AM as the invasion unfolded. The Hamas assault on Israel began around 6:22 AM. Omar

started sharing coverage of the attacks immediately thereafter, including a photo of rocket launches

at 6:31 AM.




       65
                https://oversight.house.gov/wp-content/uploads/2024/04/2024-04-08-Letter-to-DOJ-FARA-
Production-Follow-Up.pdf
         66
            How Hamas Kept October 7 Attack on Israel Secret – Report (January 10. 2024),
         https://www.jpost.com/israel-hamas-war/article-781545
         67
            Al Jazeera’s Ismail Abu Omar, Ahmad Matar Wounded in Israeli Strike on Gaza (February 13,
2024),
         https://www.aljazeera.com/news/2024/2/13/journalists-including-al-jazeera-reporter-injured-in-
israel-gaza-strike


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                                                                      68



       92.     The following are some notable real time posts from Omar on October 7, 2023,

indicating his active participation in the attacks and close coordination with Hamas:

       6:30 AM: “Oh God, the power of missiles and sirens”69

       6:35 AM: “entering”70

       6:41 AM: “The smell of gunpowder in #Gaza”71

       6:48 AM: “Young people are riding vehicles inside”72

       6:48 AM: “Storming kibbutzim in the Gaza Envelope.”73

       6:49 AM: “This is freeing the envelope Allahu Akbar”74

       6:54 AM: “Grow up and pray for steadfastness for the heroes”75

       6:59 AM: “Entry to the kibbutzim”76




       68
          https://t.me/asmailpress/76647 (last visited on September 17, 2024)
       69
          https://t.me/asmailpress/76646 (last visited on September 12, 2024)
       70
          https://t.me/asmailpress/76651 (last visited on September 12, 2024)
       71
          https://t.me/asmailpress/76652 (last visited on September 12, 2024)
       72
          https://t.me/asmailpress/76654 (last visited on September 12, 2024)
       73
          https://t.me/asmailpress/76655 (last visited on September 12, 2024)
       74
          https://t.me/asmailpress/76656 (last visited on September 12, 2024)
       75
          https://t.me/asmailpress/76657 (last visited on September 12, 2024)
       76
          https://t.me/asmailpress/76661 (last visited on September 12, 2024)


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       93.    Omar later joined the invasion and traveled to Nir Oz accompanied by armed men,

where he recorded inciting footage of the horrific scenes.77 Videos published by him show him

entering Israel on October 7 and riding towards Nir Oz with multiple armed Hamas men.78

       94.    Omar also featured a video of stolen horses, accompanied by the bragging caption

“trophy horses.”79

       95.    Omar watermarked a graphic photo of a murdered Israeli soldier whose corpse was

brought back to Gaza.




Photo available on Omar’s telegram channel at 8:08 AM, October 7.80

       96.    Omar also watermarked a horrific video at 8:20 am of Hamas members opening a

car door, dragging out a corpse of an IDF soldier, stomping on the corpse, wielding guns, and

yelling “Allah Akhbar!”81 The watermark is captioned, “‫ ”خاص اسماعيل ابو عمر‬which translates to

“a special/exclusive of Ismail Abu Omar.”



       77
          https://t.me/asmailpress/76726?fbclid=IwZXh0bgNhZW0CMTAAAR2xBHTv7nxSPsD0w2Ln
zH69OumCxuj2Lu59LWJOs2BMAfn7ni93Zt7Chc_aem_AQDVvy2xTCToVNHY73TSZGuRutxQk6yl1
dOhmSO7_OTAhpQtj3lL5sPfgIPi9Su4T111uF0_oTfKSaueMJSJNcAB (last visited on August 26, 2024)
       78
          https://t.me/asmailpress/76729?fbclid=IwZXh0bgNhZW0CMTAAAR16aGVe6BsL8CkAUGki
R6DbAG_IXiEToRPec4xl7MEhQ1sAkPsiDftMdvY_aem_AQAoHlurDTMAQ8GGwE8c-
63kWF90z3liFxD52vvmChqePWikU9tkGnzbv_aKdAGZL-HFr_d8pe62Mu4bUTMh42dM (last visited
on August 26, 2024); https://t.me/asmailpress/76735 (last visited on August 26, 2024)
       79
           https://t.me/asmailpress/76727 (last visited on August 26, 2024)
       80
           https://t.me/asmailpress/76718 (last visited on September 12, 2024)
       81
           https://t.me/asmailpress/76722 (last visited on August 26, 2024)


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       97.     Omar also recorded a jihadist speaking over transistor radio about beheading

settlers and asking listeners to praise God. “Praise God, our brothers in the al-Qassam Brigades.

We entered the homes of the settlers and beheaded them! We beheaded them with a dagger! And

by shooting them in the head! Pray and say: Allahu Akhbar! Praise God!” Omar responded,

“Allahu Akbar and Praise God!”82

       98.     Omar’s early morning October 7 Telegram updates, his active participation in the

invasion, and the posting of personally watermarked footage of dead Israeli soldiers all indicate

that he had detailed knowledge of the timing and location of the October 7 Terrorist Attacks. This

level of knowledge and involvement clearly shows his direct coordination with Hamas. Omar, an

Al Jazeera reporter, provided live coverage updates that were framed with explicit support for

Hamas, accompanying violent images. These updates were not just reports but were presented in

a way that glorified the attacks, encouraging further violence and contributing to the incitement of

terrorism on that day.

       99.     Because of the close coordination between Al Jazeera and Hamas, Israeli

Communications Minister Shlomo Karhi initiated emergency regulations a few days following the

October 7 Terrorist Attacks to shut down Al Jazeera’s operations in Israel for inciting violence

against Israel,83 revealing the staging areas of Israeli forces in southern Israel and Gaza and helping

Hamas in the war between Israel and Hamas.84

       100.    Throughout the ensuing war in Gaza following the October 7 Terrorist Attacks, Al

Jazeera has had more cameras in Gaza than any other news outlet. “The network’s anchors and

reporters have hewn closely to Hamas’s preferred vocabulary for the conflict, speaking about


       82
          listens (last visited on September 12, 2024)
       83
          https://www.jns.org/israeli-government-moves-to-shut-down-al-jazeeras-local-bureau/
       84
          https://www.jns.org/mossad-supports-closure-of-al-jazeera-for-revealing-idf-troop-locations/


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‘resistance fighters’ battling against an ‘occupation army.’”85 Utilizing Hamas’s terminology, Al

Jazeera has significantly spread Hamas’s violent message.

       101.    In March 2024, Al Jazeera aired a documentary investigating the October 7

Terrorist Attacks which claimed, “many of the worst stories that came out in the days following

the attack were false,” featuring commentary from Hamas official Bassem Naim.86 Al Jazeera’s

broadcasted denial of Hamas’s crimes on October 7, along with its platforming of Naim,

legitimized the October 7 Terrorist Attacks, promoted Hamas’s terrorist agenda, and incited further

violence.

       102.    In a January 21, 2025 show on Al-Araby TV, Abu Hamza, the spokesman for the

Al-Quds Brigades, the military wing of the PIJ, publicly thanked Al Jazeera, along with all of the

media “resistance fighters,” for their collaboration and support following the October 7 Terrorist

Attacks with the ensuing war in Gaza. “We salute the free Arab and foreign media outlets, which

have made Gaza into their main cause throughout the aggression. Al-Jazeera TV did not flee the

scene, despite being harassed and targeted. We salute Al-Jazeera's management, staff, and

reporters. We also salute our dear brothers in the resistance-fighting Mayadeen TV, as well as the

beloved Palestine Today TV Quds Today TV, Al-Aqsa TV, Al-Manar TV, Al-Araby TV, Alghad

TV, Al-Jazeera Live TV, Al-Masirah TV, and all the honorable free media platforms.”87




       85
           The Hamas Propaganda War (October 30, 2023), https://www.newyorker.com/news/news-
desk/the-hamas-propaganda-war

       86
          https://www.youtube.com/watch?v=_0atzea-mPY&rco=1 (last visited on August 26, 2024)
       87
                https://www.memri.org/tv/pij-military-wing-spokesman-abu-hamza-ceasefire-deal-thanks-
qatar-egypt-arab-media (last visited on January 27, 2025)


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Al Jazeera Extensive Incitement Through Interviews with Terrorist Leaders
        103.    Al Jazeera has hosted, conducted, and televised interviews with high-ranking

members of Hamas and the PIJ on numerous occasions, and continues to do so. These interviews

are often conducted in sensitive locations, such as Hamas military bases and tunnels, showing

coordination by Al Jazeera and these terrorist organizations. Such interviews help spread Hamas’s

and the PIJ’s terrorist message and agenda.

        104.    Muhammad El Hindi is the Deputy Secretary General of the PIJ.88 In 2019, he was

added to the United States list of Specially Designated Global Terrorists. 89 Muhammad El Hindi

has been interviewed by Al Jazeera on numerous occasions.90

        105.    Ismail Haniyeh served as a Hamas leader in the Gaza Strip from June 2007 until

February 2017 and then as chairman of the Hamas Political Bureau from May 2017 until his

assassination in July 2024.91 Haniyeh has been interviewed by Al Jazeera on numerous occasions

promoting Hamas’s terrorist agenda.92 In 2022, Al Jazeera interviewed Haniyeh who, during the

interview, threatened to abduct additional Israeli soldiers to hold as bargaining chips against

Israel.93 In an interview with Al Jazeera in April 2024 regarding the assassinations of Haniyeh’s



        88
            Mapping Palestine Politics, https://ecfr.eu/special/mapping_palestinian_politics/muhammad-al-
hindi/ (last visited on August 22, 2024).
         89
             Executive Order Amending Counter Terrorism Sanctions Authorities; Counter Terrorism
Designations and Designations Updates; Iran-related Designation; Syria Designations Updates,
https://ofac.treasury.gov/recent-actions/20190910 (last visited on August 22, 2024).
         90
            https://www.facebook.com/watch/?v=1034890781169787 (last visited on August 22, 2024);
https://www.youtube.com/watch?v=UjsbU7goiag              (last   visited   on     August      22,  2024);
https://www.dailymotion.com/video/x8pmysy (last visited on August 22, 2024).
         91
            https://en.wikipedia.org/wiki/Ismail_Haniyeh (last visited on August 22, 2024)
         92
             https://www.youtube.com/watch?v=eQhNQ6-A_o0 (last visited on August 22, 2024);
https://www.youtube.com/watch?v=AIKV5yzrsHE                (last  visited   on     August     22,  2024);
https://www.youtube.com/watch?v=U85ao_X4y7w (last visited on August 22, 2024).
         93
            Al Jazeera Plus Qatar’s Foreign Intervention Masked as an American News Outlet (March 2023),
https://zachorlegal.org/wp-content/uploads/2023/03/AJ-Report-2023-WEB-VERSION.pdf


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three children by Israel, Haniyeh stated that “this noble blood that is spilled, including my own

children, will harden our resolve, make us more defiant…”94 Al Jazeera has also given Haniyeh a

platform unrelated to Hamas’s cause,95 a strategy likely designed to portray Haniyeh as a normal

leader, keeping Hamas’s cause relevant. Since his death, Al Jazeera has referred to Haniyeh as a

“martyr.”96

        106.    Khaled Meshaal is a prominent leader of Hamas.97 He served as chairman of the

Hamas Political Bureau from 1996 until 2017, when he was succeeded by Haniyeh.98 After

Haniyeh’s assassination in July 2024, Meshaal became the most senior Hamas official outside of

the Gaza Strip.99 Meshaal has been interviewed by Al Jazeera on several occasions.100 In a 2017

interview, Al Jazeera spoke with Meshaal regarding the release of Hamas’s new political

document, which builds on the 1988 Hamas charter. In that interview, Meshaal, speaking of

Hamas, stated that “I am one of the founders of the organization. I was there since day one.”101

        107.    Ziyad al-Nakhalah became deputy secretary general of the PIJ in 1995, was

designated a Specially Designated Terrorist by the U.S. in 2014 and was elected secretary general

of the PIJ in 2018. During September 2023, prior to the October 7 Terrorist Attacks, al-Nakhalah

met with Hezbollah leader Hassan Nasrallah, Hamas senior leader Saleh al-Arouri, and PFLP


        94
            https://www.youtube.com/watch?v=jOOdfoh1cG0 (last visited on August 22, 2024)
        95
            https://www.youtube.com/watch?v=2dvmpxWC7_U (last visited on August 26, 2024) (Haniyeh
congratulating Algeria on winning the 2019 African Cup.)
         96
            https://www.facebook.com/aljazeerachannel/videos/820493360230237
         97
             Hamas: Who are the Group’s Most Prominent Leaders? https://www.bbc.com/news/world-
middle-east-67103298 (last visited on August 22, 2024)
         98
            https://en.wikipedia.org/wiki/Khaled_Mashal (last visited on August 22, 2024)
         99
            https://www.britannica.com/biography/Khaled-Meshaal (last visited on August 22, 2024)
         100
              https://www.youtube.com/watch?v=jjW_ceXbYNY (last visited on August 22, 2024);
https://www.youtube.com/watch?v=gDf_DvTPQgQ (last visited on August 22, 2024)
         101
             Meshaal: ‘We want to restore our national rights’, https://www.aljazeera.com/features/2017/5/2/
meshaal-we-want-to-restore-our-national-rights (last visited on August 22, 2024)


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deputy secretary-general Jamil Mezher in Lebanon.102 Ziyad al-Nakhalah has been interviewed by

Al Jazeera.103 In August 2022, following three days of conflict between Israel and the PIJ in the

Gaza Strip, al-Nakhalah gave a press conference praising Al Jazeera, “I would like to welcome the

brother, who is a reporter of Al Jazeera, and I would like to salute Al Jazeera, as well as all the TV

channels, but especially to Al Jazeera, that broadcast live from Palestine throughout the days of

the war . . . The brothers made great efforts, everyone, with no exception, but I would like to

specifically mention Al Jazeera for the efforts they made.”104

        108.    Yahya Sinwar, designated in 2015 as a terrorist by the U.S. government, was the

chairman of the Hamas Political Bureau since August 2024 and the Hamas leader in the Gaza Strip

since February 2017 until his assassination in October 2024.105 Sinwar is regarded as the

mastermind behind the October 7 Terrorist Attacks.106 Sinwar has been interviewed by Al Jazeera

on several occasions.107




        102
             https://en.wikipedia.org/wiki/Ziyad_alNakhalah#:~:text=Al%2DNakhalah%20became%20dep
uty%20secretary,information%20leading%20to%20his%20capture. (last visited on August 22, 2024)
         103
                https://www.youtube.com/watch?v=C6hzjg8v6y8 (last visited on August 22, 2024);
https://www.youtube.com/watch?v=a4jvIUS1ai8 (last visited on August 22, 2024)
         104
              Palestinian Islamic Jihad Leader Ziyad al-Nakhalah In Tehran Press Conference: The Enemy
Has Conceded To Our Demand To Release The Two PIJ Leaders; I Salute Al-Jazeera For Its Coverage Of
The War (August 7, 2022),
         https://www.memri.org/tv/pij-palestine-leader-ziyad-nakhala-tehran-presser-enemy-agreed-
release-leaders-salute-jazeera
         105
              https://en.wikipedia.org/wiki/Yahya_Sinwar (last visited on November 4, 2024)
         106
              Shadowy Hamas leader in Gaza is at top of Israel’s hit list after last month’s deadly attack
(November 22, 2023),
         https://apnews.com/article/israel-hamas-leader-gaza-war-sinwar-
7359ae98217aa11aa7c20c2780d5d350
         107
              https://www.youtube.com/watch?v=j3Rc-yGhxGw (last visited on August 22, 2024)


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        109.    Khalil al-Hayya is a Hamas official in the Palestinian Legislative Council and

deputy chairman of the Hamas Political Bureau.108 He has also been interviewed by Al Jazeera.109

In an interview with Al Jazeera on August 10, 2024, al-Hayya called for violent incitement,

demanding “a serious Arab and Islamic response to punish the Israeli occupation.”110

        110.    Hassan Yousef is a co-founder and leader of Hamas.111 He has been interviewed by

Al Jazeera as well.112

        111.    Al Jazeera often conducted interviews with operatives in Hamas and the PIJ in

sensitive locations, signifying their close coordination. On one occasion, an Al Jazeera reporter

interviewed a spokesperson from the PIJ outside the Al Shifa Hospital in Gaza.113 The hospital

was later discovered to have served as a Hamas command center where 500 terrorists affiliated

with Hamas and the PIJ were arrested.114 On other occasions, Al Jazeera interviewed an operative

from the PIJ on a PIJ base115 and a Hamas operative in Hamas’s terror tunnels in Gaza,116 sensitive

locations to which access is limited to those in close coordination with these terrorist groups.

        112.    The spiritual leader of Hamas’s predecessor—the Muslim Brotherhood—Yusuf al-

Qaradawi, who died in 2022, legitimized Palestinian terrorism, including suicide bombings and


        108
             https://en.wikipedia.org/wiki/Khalil_al-Hayya (last visited on August 22, 2024)
        109
              https://www.youtube.com/watch?v=kMMOsCBi48w (last visited on August 22, 2024);
https://www.facebook.com/watch/?v=1390150138330157 (last visited on August 22, 2024)
         110
             Hamas official Khalil al-Hayya to Al Jazeera: What Is Required Is A Serious Arab And Islamic
Response To Punish The Israeli Occupation (August 10, 2024), https://www.lbcgroup.tv/news/
israelgazawar/789271/hamas-official-khalil-al-hayya-to-al-jazeera-what-is-required-is-a-ser/en
         111
             https://en.wikipedia.org/wiki/Hassan_Yousef_(Hamas_leader) (last visited on August 22, 2024)
         112
              https://www.youtube.com/watch?v=5s9tG3BGQMU (last visited on August 22, 2024);
https://www.dailymotion.com/video/xsywi2 (last visited on August 22, 2024)
         113
             https://www.youtube.com/watch?v=0d2V9gebrME (last visited on August 26, 2024)
         114
              Gaza’s Al-Shifa Hospital In Ruins After Two-Week Israeli Raid (April 1, 2024),
https://www.bbc.com/news/world-middle-east-68705765
         115
             https://www.youtube.com/watch?v=Ifo7q6oVHsU&t=77s (last visited on August 26, 2024)
         116
             https://www.youtube.com/watch?v=h2RcScifC6Y&t=137s (last visited on August 26, 2024)


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the killings of Israeli women and children. Yusuf al-Qaradawi had a popular weekly prime-time

television show on Al Jazeera, al-Shariʿa wa-l-Ḥayah (The Sharia and Life), which, at its peak,

was one of Al Jazeera’s most popular shows with tens of millions of viewers.117 On the program,

al-Qaradawi advocated for terrorist attacks on U.S. soldiers in Iraq, promoted Jihad against the

West, and praised the Holocaust and attacks on Israeli civilians.118 On one of his Al Jazeera shows,

al-Qaradawi praised Hitler and hoped that he would become a martyr before he died.119

        113.    In May 2021, Al Jazeera interviewed members of the al-Qassam Brigades (the

military wing of Hamas) while being escorted by them through a Hamas tunnel.120 In May 2023,

Al Jazeera interviewed a spokesman from Saraya al-Quds (the military wing of the PIJ).121

        114.    At the 9th annual Al Jazeera forum in 2015, Al Jazeera hosted Osama Hamdan,

Head of the International Relations Department of Hamas, on a panel discussion.122 Hamdan was

a former senior representative of Hamas in Lebanon and Tehran.123 Hamdan was also interviewed

on Al Jazeera’s Washington, D.C.-based show Upfront, in 2017124 and in 2023,125 and likely

compensated from the Washington, D.C.-based show for the interviews.


        117
              Yusuf al-Qaradawi, The Muslim Scholar Who Influenced Millions (September 27, 2022),
https://www.aljazeera.com/news/2022/9/27/yusuf-al-qaradawi-the-muslim-scholar-who-influenced-
millions
         118
             Al Jazeera Plus Qatar’s Foreign Intervention Masked as an American News Outlet (March
2023), https://zachorlegal.org/wp-content/uploads/2023/03/AJ-Report-2023-WEB-VERSION.pdf
         119
             Ibid.
         120
             https://www.youtube.com/watch?v=h2RcScifC6Y&t=137s (last visited on August 22, 2024)
         121
             https://www.youtube.com/watch?v=0d2V9gebrME (last visited on September 24, 2024)
         122
               The 9th AL Jazeera forum, Programme, https://forum.aljazeera.net/archive/forum-
2015/programme.html,             https://archive-forum.aljazeera.net/forum-2015/media/photos/first-day-9th-
aljazeera-forum (see photograph 19/20 confirming his attendance)
         123
             https://en.wikipedia.org/wiki/Osama_Hamdan (last visited on September 30, 2024)
         124
             Senior Hamas Leader Speaks to Al Jazeera on Moving the US Embassy to Jerusalem (January
25, 2017), https://network.aljazeera.net/en/pressroom/senior-hamas-leader-speaks-al-jazeera-moving-us-
embassy-jerusalem
         125
             https://www.youtube.com/watch?v=vkeaiNCQukg


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        115.    At its recent forum in May 2024, featured speakers included, Ismail Abu Omar,126

even after he was identified as a Hamas terror operative, and Wadah Khanfar,127 who was

described as a prominent leader in Hamas.128

        116.    Al Jazeera organized an international conference in collaboration with the

European Palestinian Council for Political Relations (“EUPAC”) scheduled for October 14, 2024,

in Brussels, titled “The Genocidal War in Gaza One Year On: Humanitarian, Legal and Political

Implications in the European Context.” EUPAC, under the leadership of chairman Majed Al-Zeer

and deputy chairman Mohammad Hannoun—both designated by the U.S. Treasury as Hamas

officials129—organized the event with Al Jazeera. These individuals have been recognized for

raising millions of dollars for Hamas.130 The conference was canceled by the venue’s website

following the designation by the U.S. Treasury.131

        117.    Al Jazeera reportedly customarily pays interviewees a fee for appearing on its

channels and even provides transportation for in-studio interviews.132 Al Jazeera also reportedly




        126
               Transformations in the Middle East after Tufan Al-Aqsa, Program, https://forum.
aljazeera.net/en/programme/
         127
             Id.
         128
             The Price of Aljazeera’s Politics (June 26, 2015), https://www.washingtoninstitute.org/policy-
analysis/price-aljazeeras-politics
         129
              Treasury Targets Significant International Hamas Fundraising Network (October 7, 2024),
https://home.treasury.gov/news/press-releases/jy2632
         130
             Id.
         131
             Brussels Venue De-Platforms Al-Jazeera-Funded Conference Over Hamas Leader Participation
(October 10, 2024), https://www.jpost.com/international/article-824134#google_vignette
         132
             Who Gets Paid for Interviews? (March 25, 2019) https://medium.com/news-to-table/who-gets-
paid-for-interviews-e16650567679, Ethics Disclosure, Jeffrey Frankel, May 2023, https://scholar.harvard.
edu/sites/scholar.harvard.edu/files/frankel/files/ethicsdisclosure_2023.pdf


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covers the travel expenses of invited speakers to attend its annual forum.133 Furthermore, Al

Jazeera helps fund various conferences and forums.

       118.    Al Jazeera provides financial support to terrorists, constituting material support for

terrorism by paying terrorist leaders for their appearances, covering travel expenses, and funding

conferences where terrorist leaders speak.

       119.    Al Jazeera facilitates incitement to violence by offering a platform for these terrorist

leaders to promote their terrorist agenda, to organize, and to recruit members.

Al Jazeera’s Incitement and Glorification of Terrorism

       120.    Al Jazeera often glorifies Hamas, the PIJ, and other terrorist groups by referring to

their deceased members as “martyrs.”

       121.    Al Jazeera titled a broadcasted tribute to assassinated Saleh Al Arouri, Hamas’s

Deputy Chairman, “Hamas announced his martyrdom in Beirut. . .Who is the martyr Saleh Al-

Arouri?”134

       122.    Al Jazeera described a memorial to Yahya Ayyash, Hamas’s notorious former chief

bomb maker,135 as “[T]he anniversary of the martyrdom of Al-Qassam Brigades leader Yahya

Ayyash.”136




       133
              Blogging Al Jazeera – A dilemma? Or a critic’s agenda? (March 15, 2006)
https://ethanzuckerman.com/2006/03/15/blogging-al-jazeera-a-dilemma-or-a-critics-agenda/
         134
             https://www.youtube.com/watch?v=EQexwWzGyNE (last visited on August 22, 2024)
         135
             Right-Hand Man To Infamous Hamas Bomb-Maker Ayyash Killed In Gaza, Palestinians Say
(December 31, 2023), https://www.timesofisrael.com/liveblog_entry/right-hand-man-to-infamous-hamas-
bomb-maker-ayyash-killed-in-gaza-palestinians-say/
         136
             https://www.youtube.com/watch?v=iMX_VfIq5U8 (last visited on August 22, 2024)


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        123.    Al Jazeera titled two separate videos memorializing Sheikh Ahmed Yassin, a

founder of Hamas: “15 years since the martyrdom of Sheikh Ahmed Yassin”137 and “The

martyrdom of Sheikh Ahmed Yassin.”138

        124.    Al Jazeera titled the broadcasted funeral of two al-Qassam Brigade Hamas

members, “A solemn scene of the funeral of two martyrs from the Qassam Brigades, in the

presence of Ismail Haniyeh.”139

        125.    In separate features, Al Jazeera refers to Ali Ghali and Jihad Ghanam, both

commanders of the PIJ, as martyrs.140 The title of a broadcasted funeral of a member of the PIJ

military wing, Al-Quds Brigades, televised by Al Jazeera, was “The funeral of a member of the

Al-Quds Brigades [Saraya Al Quds], who was martyred today in the occupation bombing of Khan

Yunis.”141

        126.    On multiple occasions in the current Israel-Hamas war in Gaza, Al Jazeera has

shared Hamas videos of Hamas terrorists targeting IDF troops. The videos are sourced from

Hamas, indicating their close coordination. One Facebook video Al Jazeera posted is captioned,

“It includes destroying an Israeli tank from zero distance, targeting soldiers, and seizing weapons.

. . Scenes obtained by Al Jazeera from what the Qassam Brigades [Hamas military wing] said were

battles against the occupation army in Gaza City.”142




        137
            https://www.youtube.com/watch?v=DGVZ4_aJxdo (last visited on August 22, 2024)
        138
            https://www.youtube.com/watch?v=IYY9wsmgRgc (last visited on August 22, 2024)
       139
            https://www.youtube.com/watch?v=d3RlbZ9_960 (last visited on August 22, 2024)
       140
           https://www.aljazeera.net/politics/2023/5/11/‫خالل‬-‫اغتياله‬-‫يتم‬-‫عسكري‬-‫مسؤول‬-‫( رابع‬last visited on
August 22, 2024); https://www.aljazeera.net/videos/2023/5/10/‫جهاد‬-‫للشهيد‬-‫الذاتية‬-‫السيرة‬-‫على‬-‫( تعرف‬last visited
on August 22, 2024)
       141
            https://www.youtube.com/watch?v=siBppeCnWeE (last visited on August 22, 2024)
       142
            https://www.facebook.com/watch/?v=1520950348736846 (last visited on August 25, 2024)


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       127.    The logo for the “Al-Aqsa Flood,” the term used by Hamas to describe their large-

scale military operation against Israel, which began with the October 7 Terrorist Attacks, appears

in the beginning of many Al Jazeera videos.143

       128.    Anas al-Sharif is an Al Jazeera news reporter (as mentioned previously in this

complaint).144 There are several posts on his Telegram account from October 7, 2023, where al-

Sharif incites violence by praising and glorifying the attacks:

       October 7, 2023: “Allahu Akbar and [Thank God]”145

       October 7, 2023: “9 hours later and the heroes are still roaming around the country, killing

and capturing... God, God, how great you are              .”146

       October 7, 2023: “God is great God is great Thousands of settlers fled from the Gaza

Strip”147

       October 7, 2023: “It is a jihad, a jihad of victory and martyrdom”148



       143
             https://www.facebook.com/aljazeerachannel/posts/pfbid02xCphUTvgeARjsdF2G4qQRojhYL2
iAFp12h7oabYDqW1YkRruKmo93qtvKpubc3VVl                   (last  visited on   August  25,  2024);
https://www.facebook.com/watch/?v=6761749743952856 (last visited on August 25, 2024);
https://www.facebook.com/watch/?v=551825507166222 (last visited on August 25, 2024);
https://www.facebook.com/watch/?v=731927248429313 (last visited on August 25, 2024)
         144
                     https://x.com/AnasAlSharif0?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr%
5Eauthor (last visited on August 27, 2024)
         145
             https://t.me/anas1020304050/22133?fbclid=IwY2xjawDwih9leHRuA2FlbQIxMAABHeABLN
feoYb2JcgLzgkzdhgdQvR88wEnxdSoTdLyGFiEGEA7IMhaxlW7Mw_aem_ShcZQlu8zL7RYUPXKGS
PCg (last visited on August 27, 2024)
         146
             https://t.me/anas1020304050/22098?fbclid=IwY2xjawDwipRleHRuA2FlbQIxMAABHbeOrgj
7SlR6uCnLiuAOIeTo9iEdWr1YQo1L5oyhYaKLHscGnTQD-
uZrmw_aem_3Sx4kI0wbH6D8m0hrNRzjg (last visited on August 27, 2024)
         147
             https://t.me/anas1020304050/22071?fbclid=IwY2xjawDwjV1leHRuA2FlbQIxMAABHQAh84
CegahprnT1YQp4869BCQw9PFU5hDIwBc1MB5xVswGmWbHWr40i-
A_aem_ZFQSV6t2TYXflge3iRyqqg (last visited on August 27, 2024)
         148
             https://t.me/anas1020304050/22039?fbclid=IwY2xjawDwje9leHRuA2FlbQIxMAABHXGBnE
GaTQ4hKzduUb-eFD-



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       October 7, 2023: “Pictures of dead members of the occupation army inside their military

barracks in settlements and sites in the eastern Gaza Strip”149




                                                                  150



       October 09, 2023: Al-Sharif praises a Hamas terrorist:




XNDwxflkl8NLNz1KzpGTGzU23YKiCR172WA_aem_ItUPUe2vBEmuurjHU7qM7A (last visited on
August 27, 2024)
        149
            https://t.me/anas1020304050/22045?single&fbclid=IwY2xjawDwjaZleHRuA2FlbQIxMAABH
YHktlEoXQa4z6ncJrsnDCVvx70k1nRwTzpRCBsse4lMHJu1j4LqjSgIzw_aem_b6nIEFhwNr3ZUEsmRt
l8qA (last visited on August 27, 2024)
        150
             Ibid.


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       “The brave, heroic martyr who defeated the occupation soldiers and claimed the dead,

wounded, and prisoners among them: Salah Labad.”151

       October 10, 2023: “#Ashdod is 40 kilometers from the Gaza Strip. There was a resistance

raid there In God’s protection and care        ”152

       October 11 and October 26, 2023: Al-Sharif posts violent pictures of dead Israeli soldiers

being stepped on:




       “The army wants to exterminate people under their rugs         ”153




       151

https://t.me/anas1020304050/22697?fbclid=IwY2xjawDwiRRleHRuA2FlbQIxMAABHZh1U1q9V2-
FI93N-nv8zDb47pjf3rkzqDPKXS6zIqzUDfUhoPSV2sLg8w_aem_F86N71ynjl0TiLNFH5wRYQ (last
visited on August 27, 2024)
          152
              https://t.me/anas1020304050/23408?fbclid=IwY2xjawDwiMlleHRuA2FlbQIxMAABHf19YZ
e0vHT2qAh2kXncqGQWOAOEsYIOMmxmru0Evxy1O05Dn8FmNPd_yA_aem_ycHICl_rYpalW1souv
ZNog (last visited on August 27, 2024)
          153
              https://t.me/anas1020304050/23823?fbclid=IwY2xjawDwhTxleHRuA2FlbQIxMAABHVP1X
kplg2gOW4je2tYmAnMB7wukRCf0joQCDYedzJSGmNewUHrRVdrqyw_aem_rOZkyZKOj3OUhOOx
gSb8Dw (last visited on August 27, 2024)


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       “All you feel is that morale is not perfect! Remember, we hit their heads…”154

       October 11, 2023 (mourning the deaths of Hamas leaders): “May God have mercy on him

and please him. The great leader, Hajj Zakaria Abu Muammar (Abu Ahmed) Member of the

movement’s political bureau - Khan Yunis And the great leader, Hajj Jawad Abu Shamala Head

of the movement’s economic department.”155

       October 30, 2023: “A special video from the heart of the battle that our mujahideen are

waging with the enemy’s fortified tanks and vehicles. This hero comes out to them despite the

intensity of the fire and the burning of the earth with shells and missiles. Perhaps this lion came

out to them after waiting for prey for days. These are our heroes. May God protect them and strike

them.”156




       154
           https://t.me/anas1020304050/25082 (last visited on August 27, 2024)
       155
           https://t.me/anas1020304050/23629?single (last visited on August 27, 2024)
      156
          https://t.me/anas1020304050/25460?fbclid=IwY2xjawDwg9RleHRuA2FlbQIxMAABHeawxg
oVrHZ2FFa82y1_7Ve06iSipcXdzgn5EXYB7YfOeka5r7iruJZapw_aem_rpO2VZMpKQVS-
uwmKg7RzQ (last visited on August 27, 2024)


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        November 2, 2023: Al-Sharif prays for the Hamas fighters, “You will not forget the

Mujahideen in your prayers          ”157 and praises Hamas as one of his own, “Our servants are men

of great might.      ”158

        129.      Even prior to the October 7 Terrorist Attacks, Al-Sharif glorified Hamas by posting

pictures on his Telegram account of Hamas terrorists and referring to them as martyrs.159

        130.      The IDF has uncovered documents in the Gaza Strip revealing that Al Jazeera

journalist Sharif is a Hamas operative, head of a rocket launching squad, and a member of a

Nukhba Force company in Hamas’s Nuseirat Battalion.160

        131.      Hisham Zaqout is an Al Jazeera correspondent (as mentioned previously in this

complaint).161 He has incited violence on social media, often referring to terrorists who have

perpetrated attacks as “martyrs.”162 In a July 2019 X post, Zaqout shared a picture of a man who

diverted millions of dollars to Hamas and wrote, “Freedom for Muhammad Al-Halabi and for our




        157
               https://t.me/anas1020304050/25542 (last visited on September 24, 2024)
        158
               https://t.me/anas1020304050/25731 (last visited on August 27, 2024)
          159
              https://t.me/anas1020304050/19318?fbclid=IwY2xjawDwjrJleHRuA2FlbQIxMAABHQAh84
CegahprnT1YQp4869BCQw9PFU5hDIwBc1MB5xVswGmWbHWr40i-
A_aem_ZFQSV6t2TYXflge3iRyqqg                    (last     visited       on      August      27,    2024);
https://t.me/anas1020304050/21969?single&fbclid=IwY2xjawDwjkVleHRuA2FlbQIxMAABHSKA7EJ8
JEbhFPnyrTNBbQdhvhnwk0nkRw88IR7HNrAq6oqejJg1ArPvOg_aem_YxvtSeh4J7rsDwv_UgMK4w
(last visited on August 27, 2024)
          160
               IDF Claims Uncovered Documents Prove 6 Al Jazeera Journalists are Hamas, PIJ Operatives
(October 23, 2024); https://www.timesofisrael.com/liveblog_entry/idf-claims-uncovered-documents-
prove-6-al-jazeera-journalists-are-hamas-pij-operatives/
          161
               https://ps.linkedin.com/in/hisham-zaqout-60959467 (last visited on August 27, 2024)
          162
               https://x.com/hishamzaqout/status/1151865377569333248 (last visited on August 27, 2024);
https://x.com/hishamzaqout/status/1170723010275401728 (last visited on August 27, 2024);
https://www.instagram.com/p/CZufvbkqFvY/              (last     visited    on     August      27,  2024);
https://x.com/hishamzaqout/status/987751946013507586 (last visited on August 27, 2024) (referring to a
Hamas commander and engineer as a martyr)


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brave prisoners in the occupation prisons.”163 (emphasis added). In July 2017, Zaqout posted a

video on his Instagram account featuring the al- Qassam Brigades in the Hamas tunnels in Gaza,

further glorifying violent actions.164

        132.    Rami Saleim is an Al Jazeera correspondent who has similarly glorified Hamas and

the PIJ on his social media accounts.165 Despite this, Al Jazeera appears to have hired him within

the last year.166




        “Together we sacrifice. Together we win”167

        133.    Ashraf Amra works for Al Jazeera168 and has posted images of youths in Gaza with

weapons, captioning the post: “Liberation Youth Camps in Gaza.”169 In a 2017 Instagram




        163
             https://x.com/hishamzaqout/status/1148612096885690369 (last visited on August 27, 2024)
        164
             https://www.instagram.com/p/CPtgik6pDvn/ (last visited on August 27, 2024)
         165
               https://www.instagram.com/p/CjEAnCgKqdv/ (last visited on August 27, 2024);
https://www.instagram.com/p/CiQqcS8DWNE/ (last visited on August 27, 2024) (Referring to a movie that
depicts Israel’s destruction as a “work of art”)
         166
             https://www.instagram.com/rami_saleim/ (last visited on September 24, 2024)
         167
             https://www.instagram.com/p/CPAplH2HpKL/ (last visited on August 27, 2024)
         168
             Better Than A Tent: The Gaza Family Living In Ruins Of Their Bombed Home (November 20,
2023),
          https://www.aljazeera.com/features/2023/11/20/better-than-a-tent-the-family-living-in-ruins-of-
their-home-in-gaza (see byline)
         169
              https://www.instagram.com/p/5sYaVzwWbD/?hl=en (last visited on August 27, 2024);
https://www.instagram.com/p/5sYMwwQWao/?hl=en (last visited on August 27, 2024);
https://www.instagram.com/p/5sYXKIwWa4/?hl=en (last visited on August 27, 2024)


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photograph of fighters from the PIJ, he refers to them as “Resistance.”170 Amra has also

photographed Hamas launching incendiary balloons from Gaza into Israel171 and documented

terrorists during training drills. His apparent high standing with Hamas is evident through his close

proximity to Sinwar, the former Hamas leader, and his ability to get Sinwar to pose for multiple

photos.172 He shared the following photo on Instagram of members of the al-Qassam Brigades

taking part in a military drill in Gaza:




                                                                      173



        134.    Youmna El Sayed is an Al Jazeera English Correspondent. In April 2022, she

broadcasted from a terrorist press conference for the PIJ, amplifying its violent and terrorist




        170
            https://www.instagram.com/p/BXnVdmtAIhg/?hl=en (last visited on August 27, 2024)
        171
            https://www.instagram.com/p/CBVbUHsJtdz/?hl=en&img_index=1 (last visited on August 27,
2024); https://www.instagram.com/p/CTZzdSGNsGE/?hl=en&img_index=1 (last visited on August 27,
2024)
        172
            https://www.instagram.com/p/CPggHfvHR6i/?hl=en&img_index=6; (last visited on September
24, 2024) https://www.instagram.com/p/CPggHfvHR6i/?hl=en&img_index=10 (last visited on September
24, 2024)
        173
            https://www.instagram.com/p/BgwH0vGBN62/?hl=en (last visited on August 27, 2024); see
also PFLP photos https://www.instagram.com/p/BdCwAqGBxGS/?hl=en (last visited on August 27, 2024)
and https://www.instagram.com/p/Bdz1VIlBbuG/?hl=en (last visited on August 27, 2024)


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messaging.174 On the morning of October 8, 2023, following the October 7 Terrorist Attacks, she

posted on her X account, “It’s been such an extraordinary day! This is all I could post from

yesterday’s coverage, please do follow me for more updates on Al Jazeera English.”175

        135.       Hind Osama Al Khoudary has been reporting for Al Jazeera since October 7,

2023.176 She had previously revealed her alignment with Hamas on social media, yet Al Jazeera

still hired her.




        “When we say #WeStandWithTheResistance, it means that we support its decisions
        in starting war, defense, or maintaining calm. We trust it because it knows the field
        conditions better than us, and it has never let us down before. We witness that it has
        returned stronger each time despite the blockade of its supplies, the assassination of
        its leaders, and attacks from sharp-tongued critics and those of short patience.
        #Gaza”177

        Despite Khoudary’s overt alignment with Hamas shared publicly on May 12, 2023, Al

Jazeera employed her months later, raising serious concerns about its hiring, employment, and

screening practices regarding individuals who promote violence.




        174
              https://x.com/YoumnaElSayed17/status/1520212744103989250 (last visited on August 27,
2024)
        175
              https://x.com/YoumnaElSayed17/status/1710942027368591522 (last visited on August 27,
2024)
        176
              https://en.wikipedia.org/wiki/Hind_Khoudary (last visited on August 27, 2024)
        177
              https://x.com/EFischberger/status/1775915905194619046 (last visited on August 27, 2024)


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        136.    Further revealing its penchant for inciting and glorifying terrorism, Al Jazeera

frequently publishes Hamas videos of terrorist attacks before any official versions are released,

thereby glorifying these acts of violence and inciting further support for Hamas’s violent

agenda.178

        137.    Al Jazeera anchorman Jamal Rayyan, considered one of the network’s icons, joined

Al Jazeera in 1996.179 On the first anniversary of the October 7 Terrorist Attacks, Rayyan posted

on his X account in support of the “resistance” and urged Arab countries to back it, even if done

“secretly.”180 He pinned an image on his account showing rockets, resembling fireworks,

launching from the Dome of the Rock in Jerusalem, with a glowing number 7 in the center,

celebrating the October 7 Terrorist Attacks. In the caption, Rayyan wrote, “This is the day that

restored the nation’s dignity and prestige.”181

        138.    Also, on the first anniversary of the October 7 Terrorist Attacks, Al Jazeera aired a

so-called “comedic” sketch on its streaming platform, Al Jazeera 360, which mocked the October

7 Terrorist Attacks and trivialized the violence. In the sketch, Hamas terrorists are depicted as non-

violent, breaking into an Israeli base and gently abducting an Israeli soldier. The soldier offers no

resistance and instead addresses the camera, discussing a fictional “Apricot Dome” defense




        178
             https://x.com/JoeTruzman/status/1782063141511385194 (last visited on August 26, 2024)
(Showing footage obtained by Al-Jazeera of a shooting attack carried out by members of Hamas in the
West Bank.)
        179
             https://network.aljazeera.net/en/profile/presenters/jamal-rayyan (last visited on October 7,
2024)
        180
            Senior Al Jazeera Anchor Hails Oct. 7 Massacre as ‘day that restored nation’s dignity’ (October
7, 2024), https://www.timesofisrael.com/liveblog_entry/senior-al-jazeera-anchor-hails-oct-7-massacre-as-
day-that-restored-nations-dignity/
        181
            Id.


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system.182 By making a mockery of the attacks, Al Jazeera downplayed the brutality of Hamas and

undermined the gravity of the violence inflicted during the October 7 Terrorist Attacks.

       139.    Since the October 7 Terrorist Attacks, Al Jazeera has promoted Hamas by censoring

and silencing Gazan criticism of Hamas. Al Jazeera reporters often cut off interviews and

broadcasts, dismissing contrary opinions when Gazan citizens criticize Hamas.183 This selective

reporting not only incites support for Hamas but also reinforces a narrative that stifles dissent and

legitimizes extremist actions. “Al Jazeera’s reluctance to broadcast criticism of Hamas may be

seen as part of this alliance between the Qatari mouthpiece and the terrorist group.”184

       140.    During a November 5, 2023 live broadcast on Al Jazeera Network (Qatar) from

Gaza, an elderly wounded man criticized Hamas for hiding among the civilian population. He said,

“As for the resistance – they come and hide among the people. Why are they hiding among the

people? They can go to Hell and hide there.” Al Jazeera reporter Ashraf Abu Amra immediately

cut off the man’s criticism of Hamas, and the man kicked him.185 Ashraf Abu Amra continues to

work for Al Jazeera.186

       141.    During an Al Jazeera interview on January 27, 2025 with a Palestinian returning to

northern Gaza following the ceasefire agreement between Israel and Hamas, the Al Jazeera




       182
            https://x.com/EFischberger/status/1841925333408195001?ref_src=twsrc%5Etfw%7Ctwcamp
%5Etweetembed%7Ctwterm%5E1841925333408195001%7Ctwgr%5E4e8b4eeb284606cfda49f3f8fedb6
9ac98d07284%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.jpost.com%2Fomg%2Farticle-
823209 (last visited on October 9, 2024)
        183
             Ibid. See also https://www.memri.org/tv/elderly-wounded-man-gaza-hospital-criticize-hamas-
kicks-jazeera-reporter (last visited on August 28, 2024)
        184
             Ibid.
        185
              https://www.memri.org/tv/elderly-wounded-man-gaza-hospital-criticize-hamas-kicks-jazeera-
reporter (last visited on August 28, 2024)
        186
             https://www.instagram.com/p/C_KrZHCtxnB/?hl=en (last visited on September 24, 2024)


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reporter cut off the man when he started criticizing Hamas. Before being cut off, the man can be

heard telling the Al Jazeera reporter that hopefully Hamas-backed thieves did not loot his house.187

        142.    Materials seized by the IDF, the Shin Bet, and the IDF Intelligence Directorate

contain a series of internal documents exchanged between Hamas operatives in Gaza and

producers at Al Jazeera exposing direct communication between senior Hamas officials in Gaza

and Al Jazeera producers. On January 24, 2025, Al Jazeera aired a special episode of its

investigative program What Is Hidden Is Greater (‫)ما خفي أعظم‬, focusing on the October 7 Attacks

from the perspective of Hamas’s military wing. Al Jazeera used the broadcast to reinforce and

legitimize Hamas’s actions on October 7 as a justified military operation.188

Historical Bans on Al Jazeera for Incitement to Violence

        143.    Historically, several countries have taken steps to block or restrict Al Jazeera due

to its ties with terrorist organizations. For example:

        In 2008, Israel imposed sanctions on Al Jazeera, accusing it of inciting violence through

its support for Hamas. Israel’s deputy foreign minister, Majalli Whbee, said, “We have seen that

Al-Jazeera has become part of Hamas . . . taking sides and cooperating with people who are

enemies of the state of Israel.”189




        187
             Widely Shared Clip Shows Al Jazeera Cutting Off Palestinian Criticizing Hamas (January 28,
2025)        https://www.timesofisrael.com/liveblog_entry/widely-shared-clip-shows-al-jazeera-cutting-off-
palestinian-criticizing-hamas/
         188
              Inside Hamas’ Propaganda Machine: How Al Jazeera Aided October 7 Misinformation
(February 13, 2025) https://www.jpost.com/middle-east/article-842041
         189
             Israel to Impose Sanctions on Arab TV Station Al-Jazeera (Published March 12, 2008, Updated
January 14, 2015), https://www.foxnews.com/story/israel-to-impose-sanctions-on-arab-tv-station-al-
jazeera


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       In 2013, Egypt banned Al Jazeera, accusing it of supporting the Muslim Brotherhood.190

       In 2017, Al Jazeera was banned in Saudi Arabia when Saudi Arabia cut ties with Qatar,

accusing it of supporting terrorism and promoting regional unrest through Al Jazeera.191

       In connection with the 2017 boycott of Qatar, Saudi Arabia, the United Arab Emirates,

Bahrain, and Egypt sent Qatar a demand to shut down Al Jazeera.192

       Israel and Jordan also joined in the 2017 boycott of Al Jazeera.193

       In 2017, Egypt blocked Al Jazeera because it was “supporting terrorism.”194

       “Al Jazeera’s reporting has previously drawn accusations of inciting terrorism from the

governments of Saudi Arabia, Egypt, the United Arab Emirates, and Bahrain.”195

       144.    A report by a team of U.S. and Israeli intelligence professionals regarding Qatar’s

facilitation of the October 7 Terrorist Attacks contends that “Qatar’s influential Al Jazeera

Network not only maintains an editorial policy backing these outlawed groups, but it also provides




       190
               Egyptian Court Orders Closure of Al-Jazeera Affiliate (September 3, 2013)
https://www.theguardian.com/media/2013/sep/03/egypt-shut-down-al-jazeera
         191
              Al Jazeera Blocked by Saudi Arabia, Qatar Blames Fake News (May 24, 2017),
https://money.cnn.com/2017/05/24/media/al-jazeera-blocked-saudi-arabia-uae/; Saudi Arabia Bans Al
Jazeera Channels in Hotels (June 9, 2017), https://www.aljazeera.com/news/2017/6/9/saudi-arabia-bans-
al-jazeera-channels-in-hotels
         192
              Qatar Told to Close Al Jazeera, Reduce Iran Ties in List of Demands (July 27, 2024)
https://www.cnn.com/2017/06/23/middleeast/gulf-nations-qatar-demands/index.html
         193
             Israeli Government Moves to Impose Ban on Al-Jazeera News Network (August 6, 2017)
https://www.theguardian.com/world/2017/aug/06/israeli-government-impose-ban-al-jazeera-news-
network; Jordan Revokes Al-Jazeera License Amid Qatar Tensions (June 6, 2017)
https://cpj.org/2017/06/jordan-revokes-al-jazeera-license-amid-qatar-tensi/
         194
             Egypt Blocks Access to News Websites Including Al-Jazeera and Mada Masr (May 25, 2017)
https://www.theguardian.com/world/2017/may/25/egypt-blocks-access-news-websites-al-jazeera-mada-
masr-press-freedom
         195
             Ibid.


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them platforms (including special programming, interviews, social media feeds, etc.) through

which to push the Muslim Brotherhood’s political platform.”196

        145.    Following the October 7 Terrorist Attacks, U.S. Secretary of State Antony Blinken

asked Qatar to moderate Al Jazeera’s coverage of Israel’s war against Hamas amid concerns within

the Biden administration that Al Jazeera is inflaming public opinion and heightening the risks of a

wider conflict.197 “Al Jazeera’s reporting has previously drawn accusations of inciting terrorism

from the governments of Saudi Arabia, Egypt, the United Arab Emirates, and Bahrain.”198

        146.    On May 5, 2024, Israeli Prime Minister Benjamin Netanyahu’s Cabinet

unanimously voted to close the “incitement channel” Al Jazeera in Israel. Netanyahu said in a

statement that “it’s time to remove the Hamas mouthpiece from our country.”199 On June 13, 2024,

the Tel Aviv District Court renewed the ban on Al Jazeera stating that “Al Jazeera is perceived by

the terrorist organization Hamas as its propaganda and intelligence arm.”200

        147.    Northwestern has a branch in Qatar and previously signed a Memorandum of

Understanding with Al Jazeera in 2013, which strengthened their ties. In May 2024, The Coalition

Against Anti-Semitism at Northwestern, a group of community members, alumni, and allies



        196
             Intel Report: Qatar’s Funding, Policies Led Directly to Oct. 7; It Shouldn’t Be Key Mediator
(April 8, 2024), https://www.timesofisrael.com/intel-report-qatars-funding-policies-led-directly-to-oct-7-
it-shouldnt-be-key-mediator/
         197
             US Asks Qatar to ‘Turn Down the Volume’ Of Al Jazeera News Coverage (October 27, 2023),
https://www.theguardian.com/media/2023/oct/27/us-asks-qatar-to-turn-down-the-volume-of-al-jazeera-
news-coverage
         198
             Ibid.
         199
             Israel Orders Al Jazeera To Close Its Local Operation And Seizes Some Of Its Equipment (May
5, 2024),
         https://apnews.com/article/israel-aljazeera-hamas-gaza-war-
eba9416aea82f505ab908ee60d1de5e4
         200
             ‘May Allah Reckon With You’: Al Jazeera Caught Censoring Gazan Criticisms for Hamas (June
16, 2024), https://www.jpost.com/middle-east/article-806444


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dedicated to fighting anti-Semitism, released a report urging Northwestern to sever ties with Al

Jazeera, “for the moral reason that it is aiding and abetting the mouthpiece of Hamas, thereby

endangering Israelis as victims of Hamas atrocities and Gazan civilians who are cynically used as

human shields.”201 In July 2024, Northwestern University cut ties with Al Jazeera.202


The October 7 Terrorist Attacks
       148.    In the early morning hours of Saturday, October 7, 2023, approximately six

thousand terrorists from Hamas and the PIJ in the Gaza Strip perpetrated a cross-border infiltration

into Israel, through its southern security fence, and massacred more than 1,200 people, including

Israeli citizens, United States citizens, and citizens from other countries, many of whom were

brutally burned alive or subject to horrific tortures, rapes, mutilations, and other atrocities. The

terrorists invaded by air, sea, land, and through underground tunnels. As the sun rose, massive

barrages of rockets and armed drones were launched from Gaza targeting civilian areas throughout

the southern parts of Israel, injuring people, and destroying property.

       149.    After piercing the Gaza border security fence in numerous locations, Hamas and

the PIJ terrorists, riding in trucks and on motorbikes, sped into southern Israel, while other

terrorists on motorized paragliders began to land at an all-night dance and music festival (the

“Supernova Rave”) being held near Kibbutz Re’im, a short distance from the Gaza border.

       150.    Over 350 attendees were massacred by Hamas at this outdoor festival. Terrorists

arriving at the Supernova Rave immediately opened fire on the crowd. One by one, the terrorists

chased, dragged, shot, and systematically murdered those they hunted down—mostly young



       201
            Northwestern University Quietly Ends Relationship with Al Jazeera: EXCLUSIVE (October 8,
2024), https://www.campusreform.org/article/northwestern-university-quietly-ends-relationship-al-jazeera
-exclusive/26509
        202
            Id.


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festival attendees—in cold blood. Hamas-led terrorists raped and killed many women, including a

young woman who was gang-raped and then shot in the head by a terrorist while he was still

violently raping her. Many of the young attendees were loaded onto vehicles, motorcycles, cars,

and trucks and then whisked away as captives to Gaza.

        151.    Videos of the kidnapped, especially young women, being paraded through the

streets of Gazan cities, jeered at, and physically assaulted by frenzied mobs were televised and

uploaded to social media, with many of these broadcasts coming from Al Jazeera, inciting further

violence. In fact, on October 7, 2023, some of Hamas’s leaders, including the then Hamas chief

Ismail Haniyeh, gathered to watch Al Jazeera coverage of the October 7 Terrorist Attacks and

prostrated in gratitude.203

        152.    In addition to perpetrating their murderous assaults, rapes, and arsons, Hamas’s

chief goal was to kidnap Israeli, U.S. and other foreign civilians, and soldiers in order to utilize

them as hostages and bargaining chips to compel Israel to release convicted Palestinian prisoners

held in Israeli prisons.

        153.    While the October 7 Terrorist Attacks were planned and led by Hamas, other

Palestinian terrorist groups also participated in the attacks, including the PIJ.

        154.    In the course of the day-long attack, more than 1,200 civilians were brutally

murdered in communities and kibbutzim in southern Israel. As Hamas terrorists proceeded from

home to home and village to village, they bound, beheaded, and tortured the civilians they

encountered. Many bodies were lit on fire and burned beyond recognition. On the roads, Hamas-



        203
           “In Video, Ismail Haniyeh And Other Hamas Leaders Watch Al-Jazeera Coverage Of Hamas’s
Invasion Of Southern Israel, Perform A ‘Prostration Of Gratitude’” (October 07, 2023),
https://www.memri.org/tv/video-ismail-haniyeh-hamas-leader-qatar-jazeera-coverage-israel-invasion (last
visited on October 30, 2024)


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led terrorists, sometimes dressed in Israeli military and police uniforms, set up makeshift

roadblocks, stopping cars, and then murdering their passengers. Hundreds of these cars were then

lit on fire and left burning on the roads. No one and no location were spared: Hamas attacked

schools, shelters, businesses, ambulances, and medical facilities. Hamas-led terrorists also looted

stores, homes, and personal belongings.

       155.      According to Israeli intelligence reports, Hamas and the PIJ had planned and trained

for this terrorist attack for years, organizing every detail and eventuality including how they would

cross into Israel, take over communities, set up roadblocks, document and publicize the heinous

tortures, rapes, and murders of their victims, how they would escape to safety, and where they

would hold those they abducted to Gaza as hostages.

       156.      The October 7 Terrorist Attacks amounted to the largest massacre of Jews since the

Holocaust and one of the worst terrorist attacks ever perpetrated in world history, by its sheer

number of fatalities. The barbaric cruelty of the October 7 Terrorist Attacks and the terrorist

organizations’ gleeful boasting of their role in the murders, injuries, and rapes repulsed the

civilized world. As United States President Joseph Biden stated in a speech only hours after the

details of the massacre became known: “Hundreds—hundreds of young people at a music festival

of—the festival was for peace—for peace—gunned down as they ran for their lives. Scores of

innocents—from infants to elderly grandparents, Israelis and Americans—taken hostage. Children

slaughtered. Babies slaughtered. Entire families massacred. Rape, beheadings, bodies burned

alive. Hamas committed atrocities that recall the worst ravages of ISIS, unleashing pure

unadulterated evil upon the world. There is no rationalizing it, no excusing it. Period.”204




       204
             https://www.youtube.com/watch?v=BEX_vUkKLMo (last visited on February 7, 2025)


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       157.    It took the Israeli government, military, law enforcement, medical responders,

municipal workers, and security services more than a week to reestablish a measure of stability to

the communities devastated during the October 7 Terrorist Attacks.

       158.    Even after being abducted to Gaza, many of the hostages were subsequently

murdered by their captors or died as a result of injuries they had sustained on October 7, or from

being subjected to poor health conditions in the Hamas prison tunnels.

       159.    The October 7 Terrorist Attacks were widely publicized and televised, along with

the subsequent war in Gaza. For such a large-scale attack and the war in Gaza to be successful,

significant support, sympathy, and glorification of Hamas’s and the PIJ’s terrorist agenda were

necessary. To perpetrate the attack and to succeed in the ensuing war in Gaza, Hamas and the PIJ

relied on support that was knowingly facilitated by Defendants.

       160.    Defendants acted as a critical vehicle for Hamas and the PIJ to incite violence and

further their terrorist objectives, playing an integral role in the success of the complex and

devastating October 7 Terrorist Attacks carried out by these groups.

       A.   Shnaider Plaintiff: Murdered Family, Kidnapped Mother, Father, and Two
Children—October 7, 2023

       161.    At 6:30 AM on October 7, 2023, more than 150 terrorists infiltrated Kibbutz Nir

Oz and committed horrific atrocities. Nearly 50 of the Kibbutz’s 400 residents were horrifically

murdered, about 70 hostages were taken and many homes were burned.

       162.    Plaintiff Maurice Shnaider’s sister, Margit Silverman, and her husband were

murdered. The couple was initially assumed missing, as they were last seen being abducted from

their home. But their bodies were later identified on October 21, 14 days later.

       163.    Margit’s son-in-law, Maurice Shnaider’s nephew-in-law, Yarden Bibas, was beaten

and forcibly kidnapped from his home by Hamas into Gaza. A Hamas video was circulated of



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Yarden Bibas with blood around his head, surrounded by terrorists. He remains in captivity, and it

is unknown if he is alive or dead.

          164.   Separately, Margit’s daughter, Maurice Shnaider’s niece, Shiri Bibas, was taken

hostage by Hamas into Gaza with her baby Kfir (9 months old at the time) and child Ariel Bibas

(4 years old at the time). A video filmed by Hamas terrorists was widely circulated with Shiri

holding both boys in her arms. She looked terrified and was clearly trying to protect her babies

with her body. On November 29, 2023, as part of ongoing psychological warfare, Hamas claimed

Shiri Bibas and her two babies were killed, but never provided any proof of death. The State of

Israel and their family continue to assume they are alive until proven otherwise.

          165.   Plaintiff, Maurice Shnaider, is devastated and traumatized by the death of his sister

and his brother-in-law, the lengthy waiting period he endured until he received confirmation of

their deaths, and the horrific abduction and continued captivity of his niece, nephew, and great-

nephews. Plaintiff suffered economic, emotional, and psychological injuries as a result of the

attack.

          B.     Lubin Plaintiff: Terrorist Stabbing—November 6, 2023

          166.   On the morning of October 7, Rose Ida Lubin, decedent, was off duty on Kibbutz

Sa’ad at the home of her adopted family for the holiday of Simhat Torah. When terrorists broke

into the kibbutz, Rose grabbed her weapon and fought the terrorists. She fought fiercely throughout

the day until she was called back to Jerusalem and ordered to assume her duties with the Israeli

Border Police.

          167.   Having survived the horrific Hamas terror attack of October 7, 2023, Rose was

tragically murdered by a 16-year-old terrorist on November 6, 2023.




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        168.    On the morning of November 6, 2023, decedent Sergeant Rose Ida Lubin, who was

serving in the Israel Border Police, was patrolling near Herod’s Gate, outside Jerusalem’s Old

City. While patrolling, Rose Ida Lubin and another officer were attacked and stabbed by the young

terrorist.

        169.    Decedent Rose Ida Lubin was treated on site by Magen David Adom paramedics

and then rushed to Hadassah-University Medical Center in Jerusalem for treatment, where she

succumbed to her injuries and died.

        170.    Decedent Rose Ida Lubin was killed in an extrajudicial killing by a terrorist from,

or supported by, a specifically designated global terrorist organization.

        171.    The heirs and the beneficiaries of the estate of Rose Ida Lubin have suffered severe

economic, psychological, and emotional injuries as a result of the attack.

        C.      Haber Plaintiff: Killed in Action—January 16, 2024

        172.    Decedent Zachary Philip Haber was serving in the IDF when he was killed in an

extrajudicial killing at the hands of terrorists from a specifically designated global terrorist

organization.

        173.    The heirs and beneficiaries of the estate of decedent Zachary Philip Haber suffered

severe economic, emotional and psychological injuries as a result of the attack in which decedent

Zachary Philip Haber was killed.

        D.      Kelmanson Plaintiff: Injured—October 7, 2023

        174.    With the outbreak of the surprise attack on Israel on October 7, 2023, Menachem

Kelmanson joined his brother Elhanan and set out to help the residents of the Israeli communities

next to the Gaza strip, that were under attack by hundreds of terrorists. Later Itiel Zohar, their




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sister’s son, joined them. The three rescued about a hundred Kibbutz members from Kibbutz Beeri.

During the rescue, Elhanan was shot and killed by the terrorists. Menachem was injured.

        175.    Plaintiffs Ayelet Nehama Newman-Kelmanson suffered severe economic,

emotional, and psychological injuries as a result of the attack in which her husband was injured

and brother-in-law was killed.

        E.      Bollag Plaintiff: Car Ramming Terror Attack in Ra’anana—January 15, 2024

        176.    At around 1:30 pm on Jan 15, 2024, two terrorists stole several vehicles and began

ramming and stabbing pedestrians in multiple locations around the city of Ra’anana.

        177.    That afternoon, Plaintiff S.B. was waiting for his bus home at the bus stop after

school. Suddenly, one of the terrorists intentionally drove his car onto the sidewalk aiming for the

group of people waiting for the bus.

        178.    S.B. was hit by the car and was taken to the hospital where he received treatment

for a severe foot injury. Months later S.B. is still receiving physical therapy for his injuries and has

suffered emotionally.

        179.    Plaintiff S.B. suffered severe physical, psychological and emotional injuries as a

result of the attack.

        F.      Mizrachi Plaintiff: Nova Music Festival Massacre—October 7, 2023

        180.    Decedent Ben Menashe Mizrachi, a former medic in the Israel Defense Forces, was

participating in the weekend long Supernova Rave music festival (the “Nova Music Festival”) at

Kibbutz Re’im on Friday night, October 6, 2023.

        181.    At 6:30 am, the following morning, rockets were observed flying above the festival

and soon after Hamas and PIJ terrorists began infiltrating and attacking the revelers on the festival

grounds.




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        182.   Decedent Ben Menashe Mizrahi was with his close friend decedent Itai Bausi and

were blocked by terrorists. Despite having no weapons or ammunition, and instead of seeking

shelter, Ben Menashe Mizrachi chose to stay and utilize his medical knowledge to help care for

the wounded and was eventually shot in the head by the terrorists.

        183.   Plaintiff Dikla Mizrachi, as personal representative of the Estate of Ben Menashe

Mizrahi, suffered severe economic, emotional, and psychological injuries as a result of the attack,

in which Ben Menashe Mizrahi was killed.

        G.     Nahamias Plaintiff: Terrorist Invasion in Sderot and Netiv Ha’asara—October
               7, 2023

        184.   Decedent Chen Nahmias was called to assist his counterterrorism unit in the IDF

on the morning of October 7, 2023 in Sderot, Israel and was subsequently killed in an extrajudicial

killing by Hamas and PIJ terrorists.

        185.   When the decedent Chen Nahmias arrived in Sderot, he was met by an intense

onslaught of Hamas and PIJ terrorists, who had begun infiltrating from Gaza into the city.

        186.   Despite being shot twice by the infiltrating terrorists, decedent Chen Nahmias

continued to shoot back at the terrorists until he had lost all his ammunition. After firing all of his

ammunition, Chen Nahmias collapsed and died from his bullet wounds.

        187.   Plaintiff Orit Nahamias suffered severe economic, emotional, and psychological

injuries as a result of the attack in which her brother was killed, as well as from the terror invasion

into the Plaintiff’s own town of Netiv Ha’asara, which also occurred on the morning of October 7,

2023.

        H.     Sharabi Plaintiff: Terrorist Invasion in Sderot—October 7, 2023

        188.   Plaintiff Yinon Sharabi is a resident of Sderot, Israel.




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        189.    On October 7, 2023, Yinon Sharabi, alongside his wife and children, found himself

in the midst of a terrorist invasion of his town. The Hamas attackers had entered the city,

overwhelmed the police and security officials, and were shooting residents in the street, their

homes, and the shelters where they had fled. The heavily armed terrorists spared no one in their

efforts to murder, rape and kidnap anyone who fell into their path.

        190.    In his terrifying and extreme efforts to save his family, Plaintiff Yinon Sharabi

suffered severe economic, psychological and emotional injuries as a result of the attack.

        I.      Wachs Plaintiffs: Terrorist Invasion in Netiv Ha’asara—October 7, 2023

        191.    Decedent Igal Wachs was a member of the community’s volunteer security team in

the village of Netiv Ha’asara, Israel.

        192.    On the morning of October 7, 2023, Igal Wachs and other members of the security

team were horrifyingly notified that terrorists were invading their village.

        193.    Decedent Igal Wachs quickly went to help defend the village against the terrorists

who were armed with automatic weapons, grenades, RPGs, and knives. Tragically, Igal was

brutally killed in an extrajudicial killing by terrorists from a specifically designated global terrorist

organization, intent on murdering or abducting anyone they could reach.

        194.    Plaintiffs, Igal Wachs’s family members, were devastated to learn that their

husband and father had been killed. They suffered severe economic, psychological, and emotional

injuries as a result of the attack.

        J.      Merkin Plaintiff: Car Ramming Terror Attack in Ra’anana—January 15, 2024

        195.    At around 1:30 pm on Jan 15, 2024, two terrorists stole several vehicles and began

ramming and stabbing pedestrians in multiple locations around the city of Ra’anana.




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        196.    At around 1:40 pm, Plaintiff I.T.M. was waiting at the bus stop for his bus home

from school, at the intersection of Ahuza Street and Jerusalem Street in Ra’anana, when one of the

terrorists rammed his car into the group waiting at the stop. Plaintiff I.T.M. was struck by the

terrorist’s car and flung into the air.

        197.    Plaintiff I.T.M. lost consciousness, suffered severe injuries, and has not been able

to return to usual physical activities.

        198.    Plaintiff I.T.M. suffered severe physical, psychological, and emotional injuries as

a result of the attack.

        K.      Kamer Plaintiff: Car Ramming Terror Attack in Ra’anana—January 15, 2024

        199.    At around 1:30 pm on Jan 15, 2024, two terrorists stole several vehicles and began

ramming and stabbing pedestrians in multiple locations around the city of Ra’anana.

        200.    That afternoon, Plaintiff N.E.K. was waiting for his bus home at the bus stop after

school. Suddenly, one of the terrorists intentionally drove his car onto the sidewalk aiming for the

group of people waiting for the bus. Plaintiff N.E.K. was hit by the car.

        201.    Plaintiff N.E.K. sustained critical injuries to his head and spinal cord and doctors

fought to save his life. N.E.K. has not been able to return to usual physical activities.

        202.    Plaintiff N.E.K. suffered severe physical, psychological, and emotional injuries as

a result of the attack.

        L.      Hexter Plaintiff: Killed in Action—January 8,2024

        203.    Decedent Yakir Hexter was serving in the IDF when he was killed in an

extrajudicial killing at the hands of terrorists from a specifically designated global terrorist

organization.




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          204.   The heirs and beneficiaries of the Estate of Decedent, Yakir Hexter, suffered severe

economic, emotional and psychological injuries as a result of the attack in which Yakir Hexter was

killed.

          M. Gitler Plaintiff: Killed in Action—January 8, 2024

          205.   Decedent David Schwartz was serving in the IDF when he was killed in an

extrajudicial killing at the hands of terrorists from a specifically designated global terrorist

organization.

          206.   Plaintiff Meital Gabriela Gitler suffered severe economic, emotional, and

psychological injuries as a result of the attack in which her husband was killed.

          N.     Bernstein Plaintiff: Killed in Action—October 7, 2023

          207.   Decedent, Yehonatan Tzor, was a Lieutenant Colonel in the Nahal Reconnaissance

Battalion. The weekend of October 7, 2023, he was off duty, home with his wife and three children

celebrating the Jewish holiday of Simhat Torah.

          208.   In the early morning hours of October 7, he received a phone call from one of his

officers informing him of major terrorist attacks in southern Israel.

          209.   Yehonatan quickly got in his car to drive south and join his battalion. As he drove

further south, he encountered a squad of infiltrating terrorists. He attempted to fend the terrorists

off, hitting some with his car. They, however, overwhelmed him and the decedent was shot.

          210.   Realizing that he was surrounded, outnumbered, and gravely wounded, Yehonatan

forcefully crashed his car into a terrorist vehicle that was equipped with a mounted heavy machine

gun and was killed in an extrajudicial killing by terrorists from a specifically designated global

terrorist organization.




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        211.    Plaintiff Haim Bernstein was devastated to learn that his son had been killed. He

suffered severe economic, psychological and emotional injuries as a result of the attack.

        O.      Halley Plaintiff: Nova Music Festival Massacre—October 7, 2023

        212.    Plaintiff Ethan Halley a/k/a Eitan Halley was attending the Nova Music Festival on

the morning of October 7, 2023.

        213.    At 6:30 AM on the morning of October 7, 2023, Ethan Halley and other festival

goers observed rockets overhead and went to a nearby bomb shelter.

        214.    As Hamas terrorists began infiltrating the festival grounds, the shelter the Plaintiff

was in was bombarded by terrorist grenades, guns, and RPG rockets.

        215.    Ethan Halley watched as his friends were killed around him or taken hostage. When

terrorists came in to inspect the bodies left in the shelter, Ethan Halley pretended to be dead for

hours under and near the bodies of his friends.

        216.    Ethan Halley suffered severe physical injuries, with shrapnel lodged in various

parts of his body, including his lungs.

        217.    Ethan Halley was eventually rescued by the Israel Defense Forces and taken to

Soroka Medical Center to receive treatment.

        218.    Plaintiff Ethan Halley suffered severe physical, psychological, and emotional

injuries as a result of the attacks.

        P.      Saadon Plaintiff: Killed Defending Others—October 7, 2023

        219.    On the morning of October 7, 2023, decedent Hallel Shmuel Saadon, a staff

sergeant in the Israel Defense Forces, was stationed in southern Israel, near Kibbutz Safa.




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        220.    In the early morning, terrorists began invading near where he was stationed and

Hallel Shmuel Saadon, along with the other soldiers, attempted to defend against the onslaught of

attacks from the Hamas terrorists.

        221.    Decedent Hallel Shmuel Saadon was then killed in an extrajudicial killing during a

terrorist attack by a specifically designated global terrorist organization while attempting to protect

other civilians and soldiers.

        222.    The heirs and beneficiaries of the estate of Hallel Shmuel Saadon suffered severe

economic, psychological and emotional injuries as a result of the attack.

        Q.      Margulies Plaintiff: Injured in Action

        223.    Plaintiff Isaac Margulies was serving in the Israel Defense Forces when he was

attacked in an extrajudicial attack in Gaza by terrorists from a specifically designated global

terrorist organization, and badly injured.

        224.    Isaac Margulies received treatment for his injuries, including burns, broken bones,

and shrapnel injuries, at Rabin Medical Center.

        225.    Plaintiff Isaac Margulies suffered severe physical, psychological, and emotional

injuries as a result of the attack.

        R.      Rom Plaintiffs—Nova Music Festival Massacre—October 7, 2023

        226.    Decedent Jonathan Rom a/k/a Yonatan Rom was attending the Nova Music Festival

on the morning of October 7, 2023.

        227.    When Hamas terrorists began infiltrating the festival grounds during their attack,

decedent Jonathan Rom broke away from the other festival goers who were attempting to flee in

order to assist a friend who was experiencing a panic attack.




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        228.    While Jonathan attempted to calm his friend down and escape, both he and his

friend were shot by terrorists who opened fire on them.

        229.    The heirs and beneficiaries of the estate of Jonathan Rom suffered severe economic,

psychological and emotional injuries as a result of the attack.

       S.       Zenilman Plaintiff: Killed in Action—December 10, 2023

        230.    Decedent Ari Zenilman was called for reserve duty in the Israel Defense Forces on

October 7, 2023. He quickly said goodbye to his wife and three young children and headed south

to join his unit. Two months later, Ari Zenilman was still serving in reserve duty on December 10,

2023, when he was attacked in Gaza by terrorists from a specifically designated global terrorist

organization and was killed in an extrajudicial killing.

        231.    Plaintiff Yonah Chava Landau Zenilman, individually, on behalf of the estate of

Ari Yehiel Weinsoff Zenilman, suffered severe economic, psychological and emotional injuries

from the attack in which, her husband was killed.

       T.       Tatelbaum Plaintiff: Killed in Action—June 28, 2024

        232.    Decedent Yakir Tatelbaum was serving in the IDF when he was killed in an

extrajudicial killing at the hands of a terrorist sniper from a specifically designated global terrorist

organization.

        233.    The heirs and beneficiaries of the estate of Yakir Tatelbaum suffered severe

economic, emotional, and psychological injuries as a result of the attack in which Yakir Tatelbaum

was killed.

       U.       Bausi Plaintiff—Nova Music Festival Massacre—October 7, 2023

        234.    Decedent Itai Bausi served as a paramedic in the Israel Defense Forces Duvdevan

Unit and had participated in the Nova Music Festival on Friday night, October 6, 2023.




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        235.    At 6:30 am the following morning, rockets were seen flying above the festival and

subsequently Hamas and PIJ terrorists began infiltrating and attacking the festival grounds.

        236.    Decedent Itai Bausi and his friend Ben Mizrahi, who travelled with him to the

festival, attempted to flee in their car but were blocked by terrorists.

        237.    Despite having no weapons or ammunition, instead of seeking shelter, Itai Bausi

chose to stay, utilize his medical knowledge, help care for the wounded, and, eventually, assist the

police forces in fighting back against the terrorists.

        238.    By 10:30 AM on October 7, Itai Bausi had been shot by terrorists in the leg and

back. He called friends on his cellphone, hoping someone could help, and left a voicemail for his

long-term girlfriend, Carmel Ripstein. He also tried to reach his friend Ben Mizrahi, unaware that

Mizrahi had already been fatally shot in the head by the terrorists. After making these calls, Itai

Bausi put his phone in his pocket and, tragically, bled to death.

        239.    Itai’s family members, anxiously waited for days, not knowing if Itai was alive or

dead or whether he had been taken hostage like other festival goers. Four days after the attack, Itai

was confirmed dead on October 11, 2023. Itai’s family members were devastated and traumatized

both by the tragic news of his death and by the lengthy waiting period they endured until they

received confirmation of his death. The heirs and beneficiaries of the estate of Itai Bausi suffered

severe economic, emotional, and psychological injuries as a result of the attack.


                                  FIRST CAUSE OF ACTION
                          Provision of Material Support to Terrorists
                    in Violation of 18 U.S.C. §§ 2339A and 18 U.S.C. § 2333

        240.    Plaintiffs repeat and reallege each and every allegation of the foregoing paragraphs

as if more fully set forth herein.




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       241.    Title 18 U.S.C. § 2339A prohibits the provision of material support or resources

while knowing or intending that the support will be used to commit or prepare a federal crime of

terrorism.

       242.    Material support or resources is broadly defined to include any property, tangible

or intangible, or service, including financial support, training, expert advice or assistance,

communications equipment, and personnel. The statute does not require that the provider of

material support have the specific intent to aid or encourage the particular attacks that injured

plaintiffs; it is sufficient that the defendant provided financial services or resources knowing or

intending that such provision would generally facilitate terrorist activities.

       243.    Al Jazeera employees, who are or were Hamas and PIJ operatives, shared live

updates of the October 7 Terrorist Attacks on their personal social media accounts as they occurred

and glorified these acts of terrorism. This conduct demonstrates prior knowledge of the terrorist

activities, coordination with and direction from Hamas, and an intent to further these acts by

providing a platform and positive portrayal, thus further inciting violence. Al Jazeera employees

gave live updates and broadcasts in real-time, praising and glorifying the terrorist attacks, and their

posts of violent images confirm their coordination with and participation in the terrorist attacks.

       244.    By providing live coverage, violent images, and inciting language of the October 7

Terrorist Attacks and the aftermath, Defendants materially supported terrorism by offering expert

assistance, communications equipment, and personnel to Hamas and the PIJ, with the knowledge

and intent that these resources would be used to facilitate acts of terrorism, which constitutes

material support under 18 U.S.C. § 2339A.

       245.    The financial payments by Defendants to leaders of Hamas and the PIJ for

interviews and the financial payments by Defendants to its own employees, who were Hamas and




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PIJ operatives, constitute further material support under 18 U.S.C. §2339A. Funding provided to

a terrorist organization with the knowledge that the funds will be used to help carry out acts of

terrorism establishes liability under 18 U.S.C. §2339A.

       246.    Additionally, Al Jazeera correspondents, who are also Hamas and PIJ operatives,

trained Hamas and PIJ members on how to use weapons and drones and have participated in

training activities. Training provided to a terrorist organization with the knowledge that the

training is in preparation for terrorism offenses establishes liability under 18 U.S.C. §2339A.

       247.    Moreover, several Al Jazeera correspondents have also served as Hamas and PIJ

operatives with Defendants’ knowledge that their employees were working with Hamas and the

PIJ. Personnel provided to a terrorist organization with the knowledge that they are helping to

carry out acts of terrorism establishes liability under 18 U.S.C. §2339A.

       248.    At all times relevant to this action, Defendants knew that Hamas and PIJ were

Foreign Terrorist Organizations.

       249.    Providing material support to Hamas and the PIJ in violation of 18 U.S.C. §2339A

constitutes acts of international terrorism pursuant to 18 U.S.C. § 2331(1), and Plaintiffs are

entitled to recover economic and non-economic damages, including solatium damages, under 18

U.S.C. § 2333(a).

       250.    Defendants’ conduct was evil, malicious, outrageous, reckless, deliberate, and

willful, thus warranting an award of punitive damages under D.C. Code § 22-1840.

       251.    By committing violations of 18 U.S.C. § 2339A that have caused the Plaintiffs to

be injured in his or her person, business, or property, Defendants are liable pursuant to 18 U.S.C.

§ 2333 for threefold any and all damages that Plaintiffs have sustained as a result of such injuries,

and the costs of this suit, including attorneys’ fees.




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                                 SECOND CAUSE OF ACTION
                           Provision of Material Support to Terrorists
                     in Violation of 18 U.S.C. §§ 2339B and 18 U.S.C. § 2333

        252.     Plaintiffs repeat and reallege each and every allegation of the foregoing paragraphs

as if more fully set forth herein.

        253.     Title 18 U.S.C. § 2339B prohibits the knowing provision of material support or

resources to a designated Foreign Terrorist Organization.

        254.     Hamas and the PIJ have been and continue to be designated Foreign Terrorist

Organizations.

        255.     Each of the Defendants knowingly provided material support to Hamas, a foreign

terrorist organization as defined in 18 U.S.C. §2339B, and to the PIJ, a foreign terrorist

organization as defined in 18 U.S.C. §2339B.

        256.     At all relevant times, Defendants knew of Hamas’s and the PIJ’s terrorist activities.

Defendants also knew that Hamas and the PIJ had each been designated a Foreign Terrorist

Organization.

        257.     Al Jazeera employees, who are or were Hamas and PIJ operatives, broadcasted the

October 7 Terrorist Attacks as they occurred and glorified these acts of terrorism. This conduct

demonstrates prior knowledge of the terrorist activities, coordination with and direction from

Hamas, and an intent to further these acts by providing a platform and positive portrayal, thus

further inciting violence. Their broadcasts in real-time, praising and glorifying the terrorist attacks,

and their posts of violent images, confirm their coordination with and participation in the terrorist

attacks. It is wholly foreseeable that the glorification of these attacks encourages, supports, and

incites further terrorist activities, thus fulfilling the intent requirement to facilitate such crimes. By

providing live coverage, violent images, and inciting language of the October 7 Terrorist Attacks,




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Defendants materially supported terrorism by offering expert assistance, communications

equipment, and personnel to Hamas and the PIJ, with the knowledge that they are terrorist

organizations, which constitutes material support under 18 U.S.C. §2339B.

       258.    Furthermore, the financial payments by Defendants to leaders of Hamas and the PIJ

for interviews and the financial payments by Defendants to its own employees, who were Hamas

and PIJ operatives, constitute material support under 18 U.S.C. §2339B. By paying these

individuals, Al Jazeera provides financial support to terrorists, which constitutes material support

for terrorism. Since Al Jazeera knowingly compensated operatives of Hamas and the PIJ, fully

aware of their affiliations with these terrorist organizations, its actions amount to material support

for terrorism. Funding provided to a terrorist organization with the knowledge that it is a terrorist

organization establishes liability under 18 U.S.C. §2339B.

       259.    Moreover, Al Jazeera correspondents, who are also Hamas operatives, have trained

Hamas members on how to use weapons and drones and have participated in training activities.

Training provided to a terrorist organization with the knowledge that it is a terrorist organization

establishes liability under 18 U.S.C. §2339B.

       260.    Several Al Jazeera correspondents have also served as Hamas and PIJ operatives

with Defendants’ knowledge that their employees were working with Hamas and the PIJ.

Personnel provided to a terrorist organization with the knowledge that it is a terrorist organization

establishes liability under 18 U.S.C. §2339B.

       261.    The services and support that Defendants purposefully, knowingly, or with willful

blindness provided to Hamas and the PIJ constitute material support to the preparation and carrying

out of acts of international terrorism, including the acts that caused the Plaintiffs to be injured in

his or her person and property




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        262.    Providing material support to Hamas and the PIJ in violation of 18 U.S.C. §2339B

constitutes acts of international terrorism pursuant to 18 U.S.C. § 2331(1), and Plaintiffs are

entitled to recover economic and non-economic damages, including solatium damages, under 18

U.S.C. § 2333(a).

        263.    The conduct of the Defendants was evil, malicious, outrageous, reckless, deliberate,

and willful, thus warranting an award of punitive damages under D.C. Code § 22-1840.

        264.    By committing violations of 18 U.S.C. § 2339B that have caused the Plaintiffs to

be injured in his or her person, business or property, Defendants are liable pursuant to 18 U.S.C.

§ 2333 for threefold any and all damages that Plaintiffs have sustained as a result of such injuries,

and the costs of this suit, including attorney’s fees.



                                 THIRD CAUSE OF ACTION
               Liability For Aiding and Abetting Acts of International Terrorism
                             Pursuant to 18 U.S.C. § 2333(a) and (d)

        265.    Plaintiffs repeat and reallege the foregoing allegations with the same force and

effect as if more fully set forth herein.

        266.    The ATA, as amended by JASTA, imposes secondary civil liability on anyone who

“aids and abets, by knowingly providing substantial assistance…[to] the person who committed []

an act of international terrorism.” 18 U.S.C. § 2333(d)(2).

        267.    Hamas and the PIJ have been and continue to be Foreign Terrorist Organizations.

        268.    Hamas, with the assistance of the PIJ and other terrorist organizations, committed,

planned, and authorized activities—including the October 7 Terrorist Attacks—which involved

violent acts and acts dangerous to human life that violated the criminal laws of the United States




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or would have violated those laws had they been committed within the jurisdiction of the United

States or of any State.

       269.    The acts Hamas and the PIJ committed, planned, and authorized were intended: (a)

to intimidate or coerce the civilian populations of Israel and the United States; (b) to influence the

policy of Israel and the United States by intimidation and coercion; and (c) to affect the conduct

of the Israeli and United States governments by mass destruction, assassination, and kidnapping.

       270.    The activities committed, planned, or authorized by Hamas, with the assistance of

the PIJ and other terrorist organizations, occurred entirely or primarily outside of the territorial

jurisdiction of the United States and constituted acts of international terrorism as defined in 18

U.S.C. § 2331(1).

       271.    Plaintiffs have been injured in their person by reason of the acts of international

terrorism committed, planned, or authorized by Hamas and the PIJ.

       272.    At all times relevant to this action, Defendants knew that each of Hamas and the

PIJ is a Foreign Terrorist Organization and that Hamas and the PIJ had engaged in and continued

to engage in illegal acts of terrorism, including international terrorism.

       273.    Defendants aided and abetted Hamas and the PIJ, by knowingly providing

substantial assistance, in committing, planning, or authorizing acts of international terrorism,

including the acts of international terrorism that injured Plaintiffs

       274.    Defendants employed and compensated journalists who are members of Hamas,

compensated leaders and operatives of FTOs for interviews, and offered a platform for Hamas and

the PIJ to organize, communicated terrorist plans, recruited members, and incited violence.

Defendants consciously and voluntarily participated in the terrorist organizations’ agenda.




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       275.    By compensating Hamas and the PIJ leaders for interviews which promoted their

violent agendas and compensating employees who serve with Hamas and the PIJ, Al Jazeera

contributed financial and material support to the terrorist groups helping them carry out their

terrorist acts. These acts of knowingly providing financial support establish liability under 18

U.S.C. § 2333(d)(2).

       276.    Furthermore, Al Jazeera employees, identified as Hamas operatives, actively

participated in the October 7 Terrorist Attacks by providing a platform to promote the terrorists’

actions and incite violence, and demonstrating prior knowledge of the attacks with an intent to

further these acts. Aiding and abetting Hamas and the PIJ by knowingly providing substantial

assistance establishes liability under 18 U.S.C. § 2333(d)(2).

       277.    Additionally, Al Jazeera correspondents, who are also Hamas and PIJ operatives,

have trained Hamas and PIJ members on how to use weapons and drones and have participated in

training activities to assist these terrorist groups in carrying out their terrorist acts. Knowingly

providing substantial assistance by training a terrorist organization establishes liability under 18

U.S.C. § 2333(d)(2).

       278.    Moreover, several Al Jazeera correspondents have also served as Hamas and PIJ

operatives with Defendants’ knowledge that their employees were working with Hamas and the

PIJ to help them carry out their terrorist agenda. Providing substantial assistance by working with

a terrorist organization establishes liability under 18 U.S.C. § 2333(d)(2).

       279.    By aiding and abetting Hamas and the PIJ in committing, planning, or authorizing

acts of international terrorism, including acts that caused each of the Plaintiffs to be injured in his

or her person and property, Defendants are liable pursuant to 18 U.S.C. § 2333(a) and (d) for




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threefold any and all damages that Plaintiffs have sustained as a result of such injuries, and the

costs of this suit, including attorneys’ fees.

        280.    The conduct of the Defendants was evil, malicious, outrageous, reckless, deliberate,

and willful, thus warranting an award of punitive damages under D.C. Code § 22-1840.


                              FOURTH CAUSE OF ACTION
         Liability for Conspiring in Furtherance of Acts of International Terrorism
                           Pursuant to 18 U.S.C. § 2333(a) and (d)

        281.    Plaintiffs repeat and reallege each and every allegation of the foregoing paragraphs

as if more fully set forth herein.

        282.    The ATA, as amended by JASTA, imposes secondary civil liability on anyone

“who conspires with the person who committed…an act of international terrorism.” 18 U.S.C. §

2333(d)(2). Secondary liability “reaches persons who do not engage in the proscribed activities at

all, but who give a degree of aid to those who do.”205

        283.    The acts Hamas and the PIJ committed, planned, and authorized were intended: (a)

to intimidate or coerce the civilian populations of Israel and the United States; (b) to influence the

policy of Israel and the United States by intimidation and coercion; and (c) to affect the conduct

of the Israeli and United States governments by mass destruction, assassination, and kidnapping.

        284.    At all relevant times to this action, Defendants knew that both Hamas and the PIJ

are Foreign Terrorist Organizations engaging in illegal acts of terrorism.

        285.    Defendants knowingly conspired, directly and indirectly, with Hamas and the PIJ

to facilitate its operations in committing, planning, or authorizing acts of international terrorism,

including acts that caused the Plaintiffs to be injured in his or her person and property.




        205 Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164, 176 (1994).




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       286.    By working as terrorist operatives, Al Jazeera employees have conspired with and

aided and abetted a designated terrorist organization, further facilitating acts of terrorism.

Defendants furthered these terrorist organizations’ agenda by serving with them, which assisted

them to commit acts of terrorism, including the October 7 Terrorist Attacks.

       287.    By broadcasting incitement to violence and terrorism, compensating terrorist

leaders for interviews, compensating its employees who were also Hamas and PIJ operatives,

providing training to Hamas and the PIJ, and serving in Hamas and in the PIJ, Defendants directly

participated in furthering these terrorist groups’ terrorist objectives. Hamas and the PIJ acted

overtly in support of the conspiracy through, at least, the commissions of the October 7 Terrorist

Attacks. The Defendants’ actions demonstrate an intent to further the terrorist activities of Hamas

and the PIJ.

       288.    At all times, Defendants were and continue to be engaged in a common pursuit with

Hamas and the PIJ and share their objectives. Each of the Defendants furthered the conspiracy and

shared the same object as Hamas and the PIJ through their knowing direct and/or indirect

participation in Hamas’s and the PIJ’s broad, coordinated, global campaign to destroy the state of

Israel by committing acts of violence and terrorism, including the October 7 Terrorist Attacks.

       289.    Each Defendant knew that the objective of the conspiracy was to facilitate terrorist

attacks against Israelis and Israeli Americans, including the October 7 Terrorist Attacks.

       290.    The October 7 Terrorist Attacks was a foreseeable act in furtherance of this

conspiracy that caused Plaintiffs’ injuries.

       291.    By conspiring with Hamas and the PIJ in committing, planning, or authorizing acts

of international terrorism, including acts that caused each of the Plaintiffs to be injured in his or

her person and property, Defendants are liable pursuant to 18 U.S.C. § 2333(a) and (d) for threefold




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any and all damages that Plaintiffs have sustained as a result of such injuries, and the costs of this

suit, including attorneys’ fees.

       292.    The conduct of the Defendants was evil, malicious, outrageous, reckless, deliberate,

and willful, thus warranting an award of punitive damages under D.C. Code § 22-1840.

DAMAGES

       293.    The decedents suffered pain and suffering. Their estates suffered severe injury,

including conscious pain and suffering, pecuniary loss, loss of income, loss of guidance,

companionship, and society, loss of consortium, severe emotional distress, mental anguish, and

loss of solatium.

       294.    The injured Plaintiffs suffered severe physical, psychological, emotional, and other

injuries as a result of the October 7 Terrorist Attacks including disfigurement, loss of physical and

mental functions, extreme pain and suffering, loss of guidance, companionship, and society, loss

of consortium, severe emotional distress, mental anguish, and loss of solatium, and loss of future

income.

       295.    The other Plaintiffs herein, the family members of the decedents and the injured,

all suffered severe psychological, emotional, and other personal injuries as a result of the October

7 Terrorist Attacks in which their loved ones were killed or severely physically injured, including

extreme pain and suffering, loss of guidance, companionship and society, loss of consortium,

severe emotional distress, mental anguish, and loss of solatium.

       296.    Plaintiffs’ harms, as described above, include imminent fear of injury or death,

extreme emotional distress, property damage, loss of consortium, and enduring pain and suffering,

which were the result of the October 7 Terrorist Attacks and other activities carried out by Hamas

and the PIJ with substantial assistance and material support from Al Jazeera.




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                                         JURY DEMAND

       297.    Plaintiffs demand trial by jury of all issues legally triable to a jury.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment as follows:

       a)      Judgment against all Defendants, jointly and severally, for compensatory damages

in an amount to be shown, over one billion dollars;

       b)      Judgment against all Defendants, jointly and severally, for punitive damages in an

amount to be determined at trial;

       c)      An award of pre-judgment interest and post-judgment interest;

       d)      Plaintiffs’ costs and expenses;

       e)      Plaintiffs’ attorneys’ fees; and

       f)      Such other and further relief as is just and proper under the circumstances.




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Dated: February 23, 2025
       Brooklyn, New York


                                     Respectfully submitted,
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